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                      EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                )
IN RE GRAND JURY SUBPOENA                       )      SC NO. 1:20-sc-03082
GJ2020111968168 AND APPLICATION OF              )
THE UNITED STATES OF AMERICA FOR                )
AN ORDER PURSUANT TO 18 U.S.C.                  )      Filed Under Seal
§ 2705(B)                                       )
                                                )
                                                )
Twitter Account: @NunesAlt                      )
                                                )

          TWITTER, INC.’S MOTION TO QUASH SUBPOENA AND VACATE
           NONDISCLOSURE ORDER AND MEMORANDUM IN SUPPORT

                                           INTRODUCTION

       The government has issued a subpoena (the “Subpoena”) for “[a]ll customer or subscriber

account information” for the Twitter user @NunesAlt (the “Account”) from October 1, 2020 to

present. Under the First Amendment, the government cannot compel Twitter to produce

information related to the Account unless it “can show a compelling interest in the sought-after

material and a sufficient nexus between the subject matter of the investigation and the information

it seek[s].” In re Grand Jury Subpoena No. 11116275, 846 F. Supp. 2d 1, 4 (D.D.C. 2012) (internal

quotation marks omitted). While Twitter does not have visibility into the purpose of the Subpoena,

Twitter has serious concerns whether the government can meet this standard given the context in

which it has received the Subpoena.

       It appears to Twitter that the Subpoena may be related to Congressman Devin Nunes’s

repeated efforts to unmask individuals behind parody accounts critical of him. His efforts to

suppress critical speech are as well-publicized as they are unsuccessful. He recently sued Twitter,

attempting to hold it liable for speech by the parody Twitter accounts @DevinCow,

@DevinNunesMom, @fireDevinNunes, and @DevinGrapes, and asking the court in that case to
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order Twitter to disclose information identifying those accounts. Each of these accounts were

engaged in anonymous political speech critical of Congressman Nunes. That suit was dismissed

against Twitter in June 2020 because Twitter cannot be liable for information originating with a

third-party user of its service, but it appears to still be an active lawsuit against the Twitter users

@DevinCow and @DevinNunesMom. Shortly thereafter, Twitter received the Subpoena. Public

Tweets posted by the Account indicate that it may be operated by the same user as

@DevinNunesMom. Congressman Nunes’s attorney also sought third-party discovery from

Twitter to unmask the @DevinCow account in an entirely unrelated case.

        Given Congressman Nunes’s numerous attempts to unmask his anonymous critics on

Twitter—described in detail herein—Twitter is concerned that this Subpoena is but another

mechanism to attack its users’ First Amendment rights. Recent litigation also alleges that

Congressman Nunes may be using the government to unmask his critics. See Declaration of

Hayden Schottlaender (“Schottlaender Decl.”), Ex. D. Twitter respectfully asks the Court to

determine whether the government has a “compelling interest” in obtaining the Account’s basic

subscriber information, or, on the other hand, is endeavoring to unmask someone merely for

engaging in speech critical of Congressman Nunes. Indeed, “[t]he First Amendment limits the

authority of the federal government to criminalize speech,” In re Grand Jury Subpoena No.

11116275, 846 F. Supp. 2d at 5, and in light of Congressman Nunes’s repeated efforts to silence

criticism against him, any complaint that gave rise to the Subpoena may be aimed at doing the

same.

        The Subpoena was also accompanied by a nondisclosure order, gagging Twitter from

notifying the Account of the existence of the Subpoena (the “Gag Order”). The Court should vacate

the Gag Order as inconsistent with the First Amendment. First, court orders that forbid speech are




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“classic examples of prior restraints,” Alexander v. United States, 509 U.S. 544, 550 (1993), and

prior restraints on speech “are the most serious and the least tolerable infringement on First

Amendment rights.” Neb. Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). As such, the Gag Order

must be reviewed under strict scrutiny and further a compelling government interest. The Gag

Order fails to pass strict scrutiny because the government has no compelling interest in preventing

the Twitter user from even knowing about a subpoena that may infringe on his or her First

Amendment right to anonymously criticize a politician. See, e.g., In re Grand Jury Subpoena No.

11116275, 846 F. Supp. 2d at 4 n.6 (Twitter user’s “intervention is plainly appropriate where [his]

First Amendment rights are at issue.”) (collecting cases).

        Second, the adverse results listed in the Gag Order are not likely to ensue from any

disclosure because Twitter is preserving responsive identifying information.

        Because the Subpoena and Gag Order violate both Twitter’s and its user’s rights protected

by the First Amendment, the Subpoena should be quashed, and the Gag Order vacated.

                                          FACTUAL BACKGROUND

        Over the past two years, Congressman Nunes and his campaign committee have brought

at least nine lawsuits—including in this district—against individuals, the media, and one research

and intelligence firm for either their disagreement with his political actions and policies, publishing

statements that Congressmen Nunes deemed critical of himself, or hosting critical statements with

which Congressman Nunes disagreed. 1 In 2019 alone, Congressman Nunes or his campaign

committee brought lawsuits against the following:



1
  See, e.g., Nunes v. Meredith, No. 1:21-cv-00078 (E.D. Cal.); Nunes v. WP Co. LLC, No. 1:20-cv-01405 (E.D. Va.);
Nunes v. WP Co. LLC, No. 1:20-cv-01403 (D.D.C.); Nunes v. Cable News Network, Inc., No. 1:20-cv-03976
(S.D.N.Y.); Nunes v. Lizza, No. 5:19-cv-04064 (N.D. Iowa); Nunes v. Fusion GPS, No. 1:19-cv-01148 (E.D.Va.);
Nunes v. Twitter, Inc., No. CL19001715-00 (Va. Cir. Ct.); Nunes v. The McClatchy Co., No. CL19000629-00
(Va. Cir. Ct.); Devin Nunes Campaign Comm. v. Seeley, No. 279766 (Cal. Super. Ct.).


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    (1) a farmer and three other people for allegedly conspiring to impede his 2018 reelection

        prospects by exercising their First Amendment rights to petition the California Secretary

        of State, so that Congressman Nunes not be allowed to call himself a “farmer” on the

        ballot; 2

    (2) a research firm and a Democratic non-profit group for allegedly attempting to interfere

        with his investigation into Russia’s intervention in the 2016 presidential election by leaking

        the “Steele Dossier”; 3

    (3) Twitter, a political consultant, and two parody accounts—@DevinCow and

        @DevinNunesMom—for either hosting speech or engaging in speech critical of

        Congressman Nunes; 4

    (4) The McClatchy Company for stating that Congressman Nunes had a financial interest in a

        winery that one of its employees had sued for being asked to work during a yacht sex

        party; 5 and

    (5) Hearst Magazines, Inc. and a journalist who published an article stating that Congressman

        Nunes’s family dairy farm in Iowa is “[h]iding a [p]olitically [e]xplosive [s]ecret”—that it

        hires undocumented workers. 6

Most of these lawsuits were either withdrawn by Congressman Nunes or dismissed on the grounds

that (1) the speech at issue was either opinion, true, did not concern Congressman Nunes, or

protected by the First Amendment, or (2) the complaint made conclusory allegations that were too




2
  Devin Nunes Campaign Comm. v. Seeley, No. 279766 (Cal. Super. Ct.).
3
  Nunes v. Fusion GPS, No. 1:19-cv-01148 (E.D.Va.).
4
  Nunes v. Twitter, Inc., No. CL9-1715 (Va. Cir. Ct.).
5
  Nunes v. The McClatchy Co., No. CL19000629-00 (Va. Cir. Ct.).
6
  Nunes v. Lizza, No. 5:19-cv-04064 (N.D. Iowa).


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vague to state a claim. 7 In each of these cases, Congressman Nunes sought damages for what he

believes were targeted attacks against his reputation, by being called names such as a “treasonous

cowpoke” on Twitter, 8 and sought to unmask anonymous commenters critical of his job as a

politician.

         In his lawsuit against Twitter, Congressman Nunes served discovery requests to Twitter

requesting the unmasking of several accounts critical of him. See Schottlaender Decl. ¶ 5, Ex. E.

However, Congressmen Nunes’s claims against Twitter were dismissed before Twitter had to

comply with these discovery requests. See Schottlaender Decl. ¶ 5, Ex. F.

         But his efforts to silence his critics have not stopped with his own lawsuits. Even in cases

in which Congressman Nunes is not directly involved, his attorney has sought to unmask

anonymous Twitter users critical of Congressman Nunes. In one such case, the plaintiff’s

attorney—who also represents Congressman Nunes in several lawsuits against the Congressman’s

critics—issued a third-party subpoena to Twitter seeking identifying information for 16 Twitter

accounts, including @DevinCow, when the account @DevinCow appeared to have no relation to

the underlying litigation. 9 See Fitzgibbon v. Radack, No. 3:19-cv-00477-REP (E.D. Va); In Re

Subpoena to Twitter, Inc., No. 3:20-mc-00005 (E.D. Va).

         Indeed, the user at issue here appears to have been a party to one of Congressman Nunes’s

many superfluous lawsuits. On March 18, 2019, Congressman Nunes brought litigation against

several Twitter users, including @DevinNunesMom, for defamation and other claims. See


7
  Congressman Nunes withdrew Devin Nunes Campaign Comm. v. Seeley, No. 279766 (Cal. Super. Ct.) and Nunes v.
The McClatchy Co., No. CL19000629-00 (Va. Cir. Ct.). In the remaining cases, the applicable courts granted motions
to dismiss. See, e.g., Order, Nunes v. Lizza, No. 5:19-cv-04064 (N.D. Iowa Aug. 4, 2020); Order, Nunes v. Twitter,
Inc., No. CL9-1715 (Va. Cir. Ct. July 24, 2020); Order, Nunes v. Fusion GPS, 1:19-cv-01148 (E.D. Va. Feb. 21, 2020).
8
  See Schottlaender Decl. ¶ 4, Ex. C, ¶¶ 9–10.
9
  Twitter did not produce any records in response to the subpoena. Before the court could rule on its motion to quash,
the plaintiff withdrew the subpoena because the parties had reached a settlement. See In Re Subpoena to re Twitter,
Inc., Case No. 3:20-mc-00005, Dkt. No. 36 (E.D. Va).


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Schottlaender Decl. ¶ 4, Ex. C. That suit sought to reveal the identity of the @DevinNunesMom

account. See Ex. C., ¶¶ 9, 12, 27. Recently, the user whose identity is sought in the Subpoena

posted on Twitter that he or she is the owner of this previously-suspended account and confirmed

that he or she has indeed been sued by Congressman Nunes: 10




In one particular Tweet, the user directed a message to Congressman Nunes: 11




10
   E..g., @NunesAlt, Twitter (Jan. 13, 2021, 1:41 AM), https://twitter.com/NunesAlt/status/1349245225647054849;
@NunesAlt, Twitter, (Jan. 13, 2021, 1:41 AM), https://twitter.com/NunesAlt/status/1349245221876322306. See also
@NunesAlt, Twitter (Dec. 18, 2020, 6:32 PM), https://twitter.com/NunesAlt/status/1340077411329687552?s=20 (“I
am an American who dislikes Devin Nunes and I am using my first amendment right to criticize an elected member
of our government, as the Founders intended. And that’s why that [expletive] is suing me.”).
11
   @NunesAlt, Twitter (Dec. 18, 2020, 11:36 PM), https://twitter.com/NunesAlt/status/1340154028848640000?s=20.


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Seemingly unsuccessful in gaining any traction with this lawsuit and in therefore identifying the

user, Twitter is concerned that a government investigation is now being used to target the same

user for political speech on Twitter. As one recent lawsuit alleges, members of the public suspect

that Congressman Nunes may be relying upon the government to unmask his critics. See

Schottlaender Decl., Ex. D.

       On November 24, 2020, Twitter received the Subpoena and Gag Order. See Schottlaender

Decl. ¶ 2. With respect to the Account, the Subpoena requests: (1) “[n]ames (including subscriber

names, user names, and screen names);” (2) “[a]ddresses (including mailing addresses, residential

addresses, business addresses, and e-mail addresses);” (3) “[l]ocal and long-distance telephone

connection records;” (4) “[r]ecords of session times and durations, and IP logs;” (5) [l]ength of

service (including start date) and types of service utilized [sic];” (6) [t]elephone or instrument

numbers (including MAC addresses, Electronic Serial Numbers (‘ESN’), Mobile Electronic

Identity Numbers (‘MEIN’), Mobile Equipment Identifier (‘MEID’), Mobile Identification

Numbers (‘MIN’), Subscriber Identity Modules (‘SIM’), MSISDN, International Mobile

Subscriber Identifiers (‘IMSI’), or International Mobile Station Equipment Identities (‘IMEI’));”

(7) “[o]ther subscriber numbers or identities (including temporarily assigned network addresses

and registration Internet Protocol (‘IP’) addresses);” and (8) “[m]eans and source of payment for



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such service (including any credit card or bank account number) and billing records” (“Identifying

Information”). Schottlaender Decl., Ex. A.

       The Gag Order prohibits Twitter from “disclos[ing] the existence of the Subpoena to any

other person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a

period of 90 days (commencing on the date of this Order)” because it finds “reasonable grounds

to believe that such disclosure will result in flight from prosecution, destruction of or tampering

with evidence, intimidation of potential witnesses, and serious jeopardy to the investigation.”

Schottlaender Decl., Ex. B. The Gag Order does not describe the basis for this finding, and Twitter

has not received any information from the government about the “reasonable grounds” upon which

the Gag Order was based. Schottlaender Decl. ¶ 3, Ex. B.

       After receiving the Subpoena, Twitter’s counsel promptly contacted the Assistant United

States Attorney who had issued it. Schottlaender Decl. ¶ 4. Twitter’s counsel explained

Congressman Nunes’s history of litigation and the Congressman’s numerous prior attempts to

unmask accounts critical of the Congressman. Id. Twitter’s counsel asked whether the government

could offer any information about its investigation that may alleviate Twitter’s concerns. Counsel

for the government stated that he understood Twitter’s concerns and would attempt to learn more

about the investigation and about what he could share with Twitter. Id. ¶¶ 4–5. Shortly thereafter,

the government stated that it was investigating “potential violations of 18 U.S.C. Section 875(c)

(threatening communications in interstate commerce).” Id. ¶ 6, Ex. G. Twitter asked whether the

government could share the threatening communications at issue, or otherwise state whether those

threats had been directed to Congressman Nunes. Id. The government replied that it would not

provide any additional information about its investigation. Id. Accordingly, Twitter files the instant

motion to ensure the Court is apprised of the additional facts described above.




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                                              ARGUMENT

I.     The Subpoena should be quashed if it violates the Twitter user’s First Amendment
       right to engage in anonymous speech.

       Twitter asks that the Court scrutinize the government’s legal and factual basis for seeking

information about the Account. If the Subpoena seeks to unmask a Twitter user for engaging in

protected speech critical of Congressman Nunes, as Twitter suspects could very well be the case

given the litigation history detailed above, the Court should quash the Subpoena because it violates

the First Amendment.

       “[S]peech on public issues occupies the highest rung of the hierarchy of First Amendment

values, and is entitled to special protection.” Connick v. Myers, 461 U.S. 138, 145 (1983) (internal

quotation marks omitted). That protection is not based on “‘the truth, popularity, or social utility

of the ideas and beliefs which are offered.’” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 271 (1964)

(citation omitted). Indeed, “[s]peech about the government—especially speech critical of the

government—is at the core of ‘the freedom of speech.’” Spirit Airlines, Inc. v. U.S. Dep’t of

Transp., 687 F.3d 403, 419 (D.C. Cir. 2012) (Randolph, J., concurring in part and dissenting in

part). No truer is that statement than in its application to political speech, where “[t]o persuade

others to his own point of view, the pleader, as we know, at times, resorts to exaggeration, to

vilification of men who have been, or are, prominent in church or state, and even to false

statement.’” Sullivan, 376 U.S. at 271 (citation omitted). But for freedom of speech to endure, it

must be afforded the “‘breathing space . . . to survive.’” Id. at 272. And that includes the First

Amendment right to remain anonymous. See McIntyre v. Ohio Elections Comm’n, 514 U.S. 334,

342 (1995) (“The freedom to publish anonymously extends beyond the literary realm.”).

       The people who use Twitter “ha[ve] a right under the First Amendment to post on the

Internet, and to do so anonymously.” In re Grand Jury Subpoena No. 11116275, 846 F. Supp. 2d



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1, 4 (D.D.C. 2012). Accordingly, the government cannot compel Twitter to produce information

related to the Account unless it “can show ‘a compelling interest in the sought-after material’ and

‘a sufficient nexus between the subject matter of the investigation and the information [it]

seek[s].’” Id. (quoting In re Grand Jury Investigation of Possible Violation of 18 U.S.C. 1461 et

seq., 706 F. Supp. 2d 11, 18 (D.D.C. 2009)). Although the government has not informed Twitter

of the specific reason for identifying the user behind the Account, Twitter respectfully submits that

based on the facts known to Twitter, the government may not be able to demonstrate any

“compelling interest” in its effort to unmask the Account. And to the extent the government seeks

information about the Account merely because it engaged in speech that may embarrass an elected

official, no such compelling interest could exist. See Richmond Newspapers, Inc. v. Virginia, 448

U.S. 555, 572, 575 (1980) (absent overriding interest, First Amendment requires “freedom of

communication on matters relating to the functioning of government”). Indeed, “[t]he First

Amendment limits the authority of the federal government to criminalize speech.” In re Grand

Jury Subpoena No. 11116275, 846 F. Supp. 2d at 5. In light of Congressman Nunes’s prior efforts

to silence his critics based on speech he deems unfavorable, Twitter is concerned that

criminalization of speech may be at issue here.

       Twitter does not know what representations the government has made to this Court about

the nature of the Subpoena and “threats via interstate commerce”; however, Twitter is compelled

to apprise the Court of the additional facts described above, of which the Court may be unaware.

The individual here appears to be engaged in clear First Amendment activity, discussing stances

on current events, government policies, and one elected official in particular—Congressman




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Nunes. In one recent post, the individual wrote this about a bill Congressman Nunes had

sponsored: 12




In another, the user posted an image of Congressman Nunes with text superimposed over his

face: 13




12
     See @NunesAlt, Twitter (Jan. 26, 2021, 4:15 AM), https://twitter.com/NunesAlt/status/1353994872349319168.
13
     See @NunesAlt, Twitter (Feb. 9, 2021, 4:31 AM), https://twitter.com/NunesAlt/status/1359072331457392641.


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What these Tweets, and others the individual has posted, share are statements deserving of First

Amendment protection. And, “an investigation threatening First Amendment rights, like any

government investigation, [must] be justified by a legitimate law enforcement purpose that

outweighs any harm to First Amendment interests.” See United States v. Mayer, 503 F.3d 740, 753

(9th Cir. 2007).

       A case involving an allegedly threatening Tweet about former Congresswoman and

presidential candidate Michele Bachmann illustrates the potential problems with the Subpoena. In

the Bachmann case, the government issued a subpoena to Twitter for identifying information about

a user who the government was investigating potential violations of 18 U.S.C. § 875(c)—the same

statute the government claims is the basis for its investigation in this case. In re Grand Jury

Subpoena, No. 11116275, 846 F. Supp. 2d at 4 n.7. This Court denied the user’s motion to quash

the subpoena on First Amendment grounds after concluding that the Tweet was “a prima facie

threat” that the government was entitled to further investigate. Id. at 8. The Court reached this

conclusion after assessing the specific language of the Tweet at issue, and examining the account

as a whole, characterizing it as “[o]ccasionally political but consistently vacuous” and “entirely

without merit, comedic or otherwise,” with a mere 736 followers. Id. at 3. But in doing so, the

Court cautioned against allowing its ruling to be interpreted as a license to head down the “slippery

slope” of permitting the government to “subpoena any Web site any time any anonymous user

made any post containing a mere scintilla of violence.” Id. at 8. Twitter is concerned that the

Subpoena may slide down that slippery slope, and at this stage, it differs in material ways from the

Bachmann case. Unlike the Bachmann case, the government will not disclose the nature of the

alleged threat under investigation, and the Account appears to be devoted entirely to political

parody with an audience (over 100,000 followers) many times larger than the fringe account at




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issue in the Bachmann case. See @NunesAlt, Twitter, https://twitter.com/NunesAlt. And most

importantly, nothing in the Bachmann opinion suggests that the former Congresswoman had

Congressman Nunes’s well-documented history of using the legal system to lodge frivolous

complaints against online critics for the purpose of learning their identities.

       As the custodian entrusted with the private identifying information that the government

seeks, Twitter is concerned the Subpoena may not be supported by a legitimate law enforcement

purpose, and that therefore, there cannot be any need—let alone a compelling need—for the

government to unmask the user. As such, Twitter asks that the Court engage in a searching analysis

of the government’s bases for issuing the Subpoena in order to determine whether the Subpoena

violates the First Amendment and should be quashed.

II.    The Gag Order should be vacated because it cannot withstand strict scrutiny under
       the First Amendment.

       Gag orders, like “any system of prior restraints of expression,” are subject to a “heavy

presumption against [their] constitutional validity.” Bantam Books, Inc. v. Sullivan, 372 U.S. 58,

70 (1963). Any gag order issued under 18 U.S.C. § 2705(b) is therefore invalid unless the

government “can demonstrate that it passes strict scrutiny—that is, unless it is justified by a

compelling government interest and is narrowly drawn to serve that interest.” Brown v. Ent.

Merchs. Ass’n, 564 U.S. 786, 799 (2011); see Matter of Subpoena 2018R00776, 947 F.3d 148, 156

(3d Cir. 2020) (gag orders to service providers are prior restraints subject to strict scrutiny under

the First Amendment); Matter of Search Warrant for [redacted].com, No. 16–2316M, 2017 WL

1450314, at *7 (C.D. Cal. Mar. 31, 2017) (“Courts considering the issue have almost uniformly

found that [gag orders to service providers] are prior restraints and/or content-based restrictions.”);

Taucher v. Rainer, 237 F. Supp. 2d 7, 13 (D.D.C. 2002) (“[T]he Supreme Court has specifically




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and unequivocally demanded that the government show the most compelling reason for any prior

restraint on speech.”) (emphasis in original).

        The government cannot clear the hurdle of strict scrutiny here, as it lacks a compelling

interest in obtaining the Gag Order. First, as articulated above, Twitter questions the validity of

the government’s investigation ab initio, as it has declined to specify any threats on Twitter’s

platform by this individual. And even in the Bachmann case, which involved a prima facie threat

of violence against a major presidential candidate by a fringe account, this Court allowed the

affected Twitter user to intervene and advocate for his First Amendment right to engage in

anonymous speech. See In re Grand Jury Subpoena No. 11116275, 846 F. Supp. 2d at 4 n.6. Given

the material differences between this case and Bachmann’s, including Congressman Nunes’s

repeated efforts to use the legal system to silence his critics, there is no compelling interest for

issuance of a Gag Order that prevents Twitter from even notifying the individual at issue about the

Subpoena and giving him or her a chance to decide whether to lodge his or her own objections.

        Second, Twitter has preserved responsive Identifying Information for the Account, and

therefore, there is no concern that any of the requested Identifying Information would be deleted.

        And third, the government has not explained how disclosure of the Subpoena to the

individual at issue could lead to adverse consequences, especially given the individual’s apparent

involvement in litigation brought by Congressman Nunes. To the extent the government believes

the user is likely to destroy evidence or tamper with witnesses, Congressman Nunes’s ongoing

litigation efforts have already provided ample incentive for that conduct to occur. Cf. In re Grand

Jury Subpoena to Google Inc., No. 17-MC-2875 (JO), 2017 WL 4862780, at *2

(E.D.N.Y. Oct. 26, 2017) (where “the risk already exists that [ ] targets will take steps to flee, alter

or destroy evidence, or otherwise impede the investigation’s progress” the court may not be able




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to “infer that [a provider]’s disclosure of the subpoena’s existence would create or exacerbate any

such risk”). Moreover, a lawsuit filed in this Court on March 3, 2021 indicates that members of

the public suspect Congressman Nunes may be using the government to unmask his critics, and

therefore, there is no need to maintain the secrecy of the Subpoena. See Schottlaender Decl., Ex.

D.

       As the Gag Order does not serve a compelling interest, this Court should vacate it.

                                            CONCLUSION

       For these reasons, Twitter respectfully requests that the Court quash the Subpoena and

vacate the Gag Order.

Dated: March 10, 2021                             Respectfully submitted,

                                                  By: /s/ John K. Roche
                                                     John K. Roche (D.C. Bar. No. 491112)
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                                                       Attorneys for Twitter, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2021, I sent a copy of Twitter, Inc.’s Motion to Quash

Subpoena and Vacate Nondisclosure Order and Memorandum in Support via email to

DCD_CMECF_CR@dcd.uscourts.gov, as prescribed on the “COVID-19 Clerk’s Office

Operations Information” page. I hereby certify that on March 10, 2021, I also served the same

document by mail and email on counsel for the United States:




DATED: March 10, 2021                                 /s/ John K. Roche
                                                      John K. Roche (D.C. Bar. No. 491112)
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
IN RE GRAND JURY SUBPOENA                         )     SC NO. 1:20-sc-03082
GJ2020111968168 AND APPLICATION OF                )
THE UNITED STATES OF AMERICA FOR                  )
AN ORDER PURSUANT TO 18 U.S.C.                    )     Filed Under Seal
§ 2705(B)                                         )
                                                  )
                                                  )
Twitter Account: @NunesAlt                        )
                                                  )

 DECLARATION OF HAYDEN M. SCHOTTLAENDER IN SUPPORT OF TWITTER,
INC.’S MOTION TO QUASH SUBPOENA AND VACATE NONDISCLOSURE ORDER

I, Hayden M. Schottlaender, declare as follows:

       1.      My name is Hayden M. Schottlaender. I am an associate with the law firm Perkins

Coie LLP, counsel for Twitter. I am of sound mind, over the age of 21, have never been convicted

of a felony, and am fully authorized and competent to make this Declaration. The facts and

statements contained herein are made on the basis of my personal knowledge and are true and

correct. If called to testify to said statements, I could and would testify competently thereto.

       2.      On November 24, 2020, Twitter received a subpoena in the above-captioned case

(the “Subpoena”). The Subpoena was accompanied by a nondisclosure order (the “Gag Order”)

prohibiting Twitter from disclosing to anyone, except Twitter’s lawyers, the existence of the

Subpoena. True and correct copies of the Subpoena and accompanying Gag Order are attached as

Exhibits A and B, respectively.

       3.      To date, I have personally and exclusively represented Twitter in its interactions

with the United States Department of Justice (the “Government”) in connection with the Subpoena

and Gag Order. I have not received any information from the Government about the “reasonable

grounds” upon which the Gag Order was issued.
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       4.       After Twitter received the Subpoena, I contacted                    , the Assistant

United States Attorney, whose name and contact information appear at the bottom of the

Subpoena. We participated in a phone call on January 26, 2021. On that call, I explained to

            that Congressman Devin Nunes has a litigious history, which included suing Twitter. A

true and correct copy of a complaint Congressman Nunes filed against Twitter and several Twitter

users, including @DevinNunesMom, is attached as Exhibit C. I explained that Congressman

Nunes had previously and unsuccessfully attempted, in several ways, to obtain information about

his critics. And I explained that Twitter was concerned that the Subpoena was merely another

attempt by Congressman Nunes to do the same. A true and correct copy of a complaint recently

filed in this Court, which alleges that Congressman Nunes may be using the government to unmask

his critics, is attached as Exhibit D.

       5.       Attached hereto as Exhibits E and F are true and correct copies of Congressman

Nunes’s Interrogatories and Request for Production of Documents in his lawsuit against Twitter,

and the Virginia Circuit Court’s dismissal of the lawsuit before Twitter had to comply with these

discovery requests, respectively.                 stated that he understood Twitter’s concerns,

would try to gather more information about the investigation, and would contact me later with

more information.

       6.       The next day, January 27, 2021,                    emailed me and stated that “the

grand jury subpoena was issued as part of a criminal investigation into potential violations of 18

U.S.C. Section 875(c) (threatening communications in interstate commerce).” No further

information was provided to me. I asked                   whether he would be able to share the

threatening communication with me, or otherwise tell me whether the “threatening

communications” were directed at Congressman Nunes.                      replied: “I have consulted
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with my supervisor here at the US Attorney’s Office, and we will not agree to provide any further

information at this time.” The Government has not provided me or Twitter with any additional

information about the Subpoena since that January 27 exchange of emails. A true and correct copy

of my conversation with                 is attached as Exhibit G.


       I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 10, 2021

                                                             /s/ Hayden M. Schottlaender
                                                             Hayden M. Schottlaender
                                                             Texas Bar No. 24098391
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   EXHIBIT A
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                                                             U.S. Department of Justice

                                                             Michael R. Sherwin
                                                             Acting United States Attorney

                                                             District of Columbia
                                                             Judiciary Center
                                                             555 Fourth St. N.W.
                                                             Washington, D.C. 20530


                                                             November 24, 2020

VIA Web Portal

C/O Trust & Safety - Legal Policy
Twitter, Inc.
1355 Market Street, Suite 900
San Francisco, CA 94103
Fax: 415-222-9958

                              Re:     Grand Jury Subpoena #GJ2020111968168
                                      USAO #2020R00007
Dear Sir/Madam:

        Pursuant to a criminal investigation being conducted by the United States Attorney’s
Office, it is required that you furnish the requested records as described in the attached subpoena.

         In lieu of personally appearing before the Grand Jury on the date indicated, you may
comply with this grand jury subpoena by promptly providing the undersigned Assistant U.S.
Attorney with the requested records. If you choose to provide the requested records voluntarily,
please provide them in a non-proprietary electronic format via FedEx, UPS or DHL. Also enclosed
please find a blank “Declaration of Custodian of Records” form. It may save time and costs if an
appropriate person at your business could complete the form and return it with the records. A
properly completed “Declaration of Custodian of Records” form will make it more likely that we
could present the records at trial without requiring you or another employee to come to court and
testify.

        Under the Electronic Communications Privacy Act, 18 U.S.C. § 2701 et seq., electronic
communications services providers responding to a grand jury subpoena for production of certain
records are entitled to reimbursement for some of the costs involved in compliance.
Reimbursement may not be made for records or other information relating to telephone toll records
and listings described in 18 U.S.C. § 2703(c)(2). Please note that under the Act, the Department
of Justice will not reimburse expenses incurred for the production of information kept in the
ordinary course of business. An exception can be made if compliance with a grand jury subpoena
requires the expenditure of unusual effort or resources. In that circumstance, reimbursement of
the "reasonable cost" of such services can be made if the government and subpoena recipient
mutually agree on the amount, or if the court orders reimbursement.
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       If you believe that you are entitled to reimbursement, please send a full and complete
itemized statement for all costs in an invoice that makes clear the basis for the reimbursement
request.

        No reimbursement will be made without (1) a full and complete itemized statement of all
costs bearing your taxpayer identification number, (2) a completed usa-212 form, and (3) a copy
of the subpoena.

       Moreover, no reimbursements will be paid for partial compliance with the grand jury
subpoena. Accordingly, no invoice should be submitted to this office until compliance with the
grand jury subpoena is complete, and the accompanying invoice represents a final and complete
invoice for all qualified costs involved in that compliance. Please submit all invoices directly to
the Assistant United States Attorney at the address indicated in this letterhead.

       Enclosed please find a nondisclosure order from the court directing Twitter, Inc. not to
notify any person (including the subscriber or customer) of the existence or content of this
subpoena. You are directed not to disclose the existence of this subpoena or the fact of your
compliance. Any such disclosure on your part could impede the investigation being conducted
and thereby interfere with the enforcement of the law.

         We appreciate your cooperation in this matter. If you have any questions, please contact
this office at the number below.


                                                      Sincerely,

                                                      Michael R. Sherwin
                                                      Acting United States Attorney

                                                By:
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 AO 110 (Rev. 06/09) Subpoena to Testify Before a Grand Jury



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District of Columbia
                                           SUBPOENA TO TESTIFY BEFORE A GRAND JURY

To:     C/O Trust & Safety - Legal Policy
        Twitter, Inc.
        1355 Market Street, Suite 900
        San Francisco, CA 94103

       YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
 below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court
 officer allows you to leave.

      Place: U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA                         Date and Time:
             U.S. Courthouse, 3rd Floor    Grand Jury # 20-2                          Tuesday, December 23, 2020 at 9:00 AM
             333 Constitution Avenue, N.W.
             Washington, D.C. 20001


           You must also bring with you the following documents, electronically stored information, or objects:


                                                           PLEASE SEE ATTACHMENT


 In lieu of personally appearing before the Grand Jury on the date indicated, you may comply with this grand jury
 subpoena by promptly providing SA Crystal Griner via crystal.griner@uscp.gov with the requested records.

 Date: November 24, 2020

                                                                         CLERK OF COURT



                                                                                        Signature of Clerk or Deputy Clerk




      The name, address, telephone number and email of the Assistant United States Attorney, who requests this subpoena,
      are:
                                                                                         Subpoena #GJ2020111968168
                                                                                         USAO #2020R00007
                                                                                         Preparer: MWATTS
 U.S. Department ofCase   1:20-sc-03082-BAH
                    Justice                      Document
                                        Request for          7-1 Content,
                                                    Communications  Filed 05/18/21      Page
                                                                           Records or Other     25 of 102
                                                                                            Information Under the Electronic
 Washington, D.C. 20530               Communications Privacy Act (ECPA). (Authorization, Purchase Order and Receiving Report)

 This form shall be used when requesting communications content, records, or other information from electronic communications or remote computing service providers under the ECPA.
  1 Tracking Number:                                                    2 Date Order Prepared:                                           3 USAO Number:
     GJ2020111968168                                                       11/19/2020                                                       2020R00007
                                                                       Section A – Authorization and Purchase Order
  4 Name and Address of Service Provider:                                                                                       A.
  Twitter, Inc.                                                                         Funding Certification &                      Budget Official Signature       Funding Available       Date
                                                                                                                                .
  1355 Market Street, Suite 900                                                         Authorization:
                                                                                                                                B.
  San Francisco, CA 94103                                                                                                            Approving Official Signature           Date
   5 Deliver Records To:                                                                                       Send Completed USA-212 Form & Invoice To:                  6 Return Date:

                                                                                                                                                                           12/8/2020

   7 Remarks: Do not proceed with compliance if the total cost will exceed                       without prior approval. To obtain approval, call the requestor listed in Item 8.
              If invoicing for these services is expected to exceed 120 days, please notify the United States Attorney's Office immediately to ensure funds remain available
              for payment. Please see the attached Important Notice for additional information on invoicing and other requirements for reimbursement.
   8 Name of Requestor:                                                                                              9 Telephone Number:                                  10 Date of request:
                                                                                                                                                                          11/24/2020
                                                                       Section B - ECPA Service Provider Invoice
11A Invoice Number:                                                                                                                                  Unit Price
                                                                                                                        Quantity                                                   Amount
11B Tax ID Number:                                                                                                                                Cost              Per

11C Service(s)/Records Provided:




 The costs above (or on the attached invoice) represent direct costs and have been incurred in searching
 for, assembling, reproducing or otherwise providing the requested information.
12 Signature of Service Provider Representative:                                                           13 Date Signed:                    Total Amount Claimed
                                                                                                                                              By Service Provider
                                                                                                                                            16 Disallowance
                                                  Section C - Receiving Report                                                                  (See Attached)
14 I certify that the articles and services listed were received:                                          15 Date Received:                17 Net to
                                                                                                                                             Service
                                                                                                                                             Provider
18 Electronic Communications Privacy Act - Public Law 99-508                                                                       19 Signature of Approving Official:              Date:
   (18 U.S.C. 2701-2712) Request Pursuant To: (Only One Section at Left Should Be Checked)
                                                                                                                  OBJECT
               SECTION                                                                                            CLASS
                   2702               Voluntary Disclosure                                                           2570          20 Funding Source
                 X    2703            Compelled Disclosure                                                           2570
                                                                                                                                   Accounting Code:
                                               Search Warrant                                                        2570
                                                                                                                                   Program
                                           X   Grand Jury Subpoena                                                   2570
                                               Court Order                                                           2570
                                                                                                                                  21 Other Accounting/Fund Information:
                                               Administrative or Judicial Subpoena                                   2570         Program Code:               Project Code:
                         2704         Request for Information Following Preservation                                 2570         YREGDOC:
                                                                                                                                  Call Number (if applicable):
                                                                                                                                  OBL Month (YRMO):
22 Remarks:
                                                                                                                                  Tax ID Number:

The costs above (or on the attached invoice) appear to be reasonably necessary and to have been directly incurred in searching for, assembling, reproducing or otherwise providing requested information




Signature of United States Attorney's Office Representative              Date
                                                                                                                                                                                           FORM USA-212
                                                                                                                                                                                               EEB. 2014
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                          DECLARATION OF CUSTODIAN OF RECORDS


         Pursuant to 28 U.S.C. §1746, I, the undersigned, hereby declare:
My name is                                                                              .
                                       (name of declarant)

         I am a United States citizen and I am over eighteen years of age. I am the custodian of records of the
business named below, or I am otherwise qualified as a result of my position with the business named below to
make this declaration. I have knowledge of the record keeping system used by this business; this includes how
records are created and maintained.

        I am in receipt of a United States District Court Subpoena #GJ2020111968168 dated
 November 24, 2020, signed by Assistant United States Attorney                    , requesting specified
records of the business named below.

         Attached hereto are                  pages of records regarding
                                                                                    (Brief description of type of documents being subpoenaed)
                                                                             responsive to the subpoena. I
understand how these responsive documents were created. Pursuant to Rules 902(11) and 803(6) of the Federal
Rules of Evidence, I hereby certify that the records attached hereto:

         (1) were made at or near the time of the occurrence of the matters set forth in the records, by, or from
         information transmitted by, a person with knowledge of those matters;

         (2) were kept in the course of regularly conducted business activity, in that the records were created and
         preserved pursuant to established procedures, and were relied upon by an employee or this business; and

         (3) were made as part of the regularly conducted business activity as a regular practice, in that the records
         were created and preserved as part of routine reflections of the normal operations of this business.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on               .                                        .
                                              (date)


                                                             (signature of declarant)


                                                             (name and title of declarant)


                                                             (name of business)


                                                             (business address)


                                                             (business address)




Definitions of terms used above:

As defined in Fed.R.Evid. 803(6), “record” includes a memorandum, report, record, or data compilation, in any form, of acts, events,
conditions, opinions, or diagnoses. The term, “business” as used in Fed.R.Evid. 803(6) and the above declaration includes business,
institution, association, profession, occupation, and calling of every kind, whether or not conducted for profit.
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                                        ATTACHMENT
                                         Twitter, Inc.


All customer or subscriber account information for any and all accounts associated with the
following identifiers listed below, from October 1, 2020 to the Present:

   •   @NunesAlt

In addition, for each such account, the information shall include the subscriber's:

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses,
          and e-mail addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and IP logs;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses, Electronic Serial
          Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN"), Mobile
          Equipment Identifier ("MEID"), Mobile Identification Numbers ("MIN"), Subscriber
          Identity Modules ("SIM"), MSISDN, International Mobile Subscriber Identifiers
          ("IMSI"), or International Mobile Station Equipment Identities ("IMEI"));

       7. Other subscriber numbers or identities (including temporarily assigned network
          addresses and registration Internet Protocol ("IP") addresses);

       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.
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             INSTRUCTIONS FOR PRODUCTION OF RECORDS


I.     General:
       a. Records existing as Electronically Stored Information (ESI) shall be produced in
          non-proprietary electronic form and shall include text data and image data held:
              i. In your record retention systems; and/or
             ii. By your technology, data, or other service provider(s).
       b. Records that do not exist as ESI may be produced in paper or other original format and
          may be converted to image or text data and provided as ESI, unless originals are required.


II.    Text Data
       a. Text data relating to transactions shall be produced within a data file:
              i. Using a delimited ASCII text data format; or
             ii. Using software that can export to a commonly readable, non-proprietary file
                 format without loss of data.
       b. Text data files relating to transactions shall include field descriptions (e.g., account
          number, date/time, description, payee/payor, check number, item identifier, and amount).


III.   Image Data
       a. Image data shall be produced in graphic data files in a commonly readable,
          non-proprietary format with the highest image quality maintained.
       b. Image data of items associated with transactions (e.g., checks and deposit slips) shall be:
              i. Produced in individual graphic data files with any associated endorsements; and
             ii. Linked to corresponding text data by a unique identifier.


IV.    Encryption/Authentication
       a. ESI may be transmitted in an encrypted container (e.g. flash drive, CD/DVD).
          Decryption keys and/or passwords shall be produced separately at the time the data are
          produced. Please do not encrypt individual file contents if the container is encrypted.
       b. Authentication, such as hash coding, may be set by agreement.
       c. Affidavits or certificates of authenticity may be included as part of the electronic
          production.
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   EXHIBIT B
    Case
      Case
         1:20-sc-03082-RAL
            1:20-sc-03082-BAH
                            *SEALED*
                               Document
                                     Document
                                        7-1 Filed
                                                2 05/18/21
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2705(b) NONDISCLOSURE ORDER FOR                   SC No. 20-sc-03082
 GRAND JURY SUBPOENA
 GJ2020111968168                                   Filed Under Seal


                                             ORDER

       This matter having come before the Court pursuant to an application under 18 U.S.C.

§ 2705(b) requesting an order directing Twitter, Inc. (“PROVIDER”), an electronic

communication and/or remote computing service provider located in San Francisco, California,

not to notify any other person of the existence of subpoena number GJ2020111968168 issued by the

United States on behalf of a federal Grand Jury empanelled in the United States District Court for

the District of Columbia (the “Subpoena”), the Court finds reasonable grounds to believe that such

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation.

       IT IS THEREFORE ORDERED that, pursuant to 18 U.S.C. § 2705(b), PROVIDER and

its employees shall not disclose the existence of the Subpoena to any other person (except attorneys

for PROVIDER for the purpose of receiving legal advice) for a period of 90 days (commencing

on the date of this Order), unless the period of nondisclosure is later modified by the Court.

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court.

                                                      ___________________________________
                                                      UNITED STATES MAGISTRATE JUDGE
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   EXHIBIT C
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VIRGINIA:

            IN THE CIRCUIT COURT FOR THE COUNTY OF HENRICO


DEVIN G. NUNES                                   )
                                                 )
       Plaintiffs,                               )
                                                 )
v.                                               )         Case No.   G~ q-l 11?
                                                 )
                                                 )         TRIAL BY JURY
TWITTER, INC.,                                   )         IS DEMANDED
ELIZABETH A. "LIZ" MAIR,                         )
MAIR STRATEGIES, LLC,                            )
"DEVIN NUNES' MOM"                               )
[@DevinNunesMom]                                 )
"DEVIN NUNES' COW"                               )
[@DevinCow]                                      )
                                                 )
       Defendants.                               )




                                 COMPLAINT
       Plaintiff, Devin G. Nunes, by counsel, files the following Complaint against

defendants, Twitter, Inc. ("Twitter"), Elizabeth A. "Liz" Mair ("Mair"), Mair Strategies,

LLC ("Mair Strategies"), "Devin Nunes' Morn" (@DevinNunesMom) and "Devin

Nunes' cow" (@DevinCow),jointly and severally.

       Plaintiff seeks (a) compensatory damages and punitive damages in an amount not

less than $250,000,000.00, (b) prejudgment interest on the principal sum awarded by

the Jury from March 18, 2018 to the date of Judgment at the rate of six percent (6%) per

year pursuant to § 8.01-382 of the Virginia Code (1950), as amended (the "Code"),

injunctive relief, and (d) court costs - arising out of defendants' negligence, defamation

per se, insulting words, and civil conspiracy.


                                             1
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                                  I. INTRODUCTION

        1.     Twitter is an information content provider. 1 Twitter creates and develops 2

content,3 in whole or in part, through a combination of means: (a) by explicit censorship


                The term "information content provider" means any person or entity that
is responsible, in whole or in part, for the creation or development of information
provided through the Internet or any other interactive computer service. See Title 47
US. C. § 230(f)(3). The word responsible ordinarily has a normative connotation. See
The Oxford English Dictionary 742 (2"d ed. 1998) (stating one definition of responsible
as "Morally accountable for one's actions."). As one authority puts it: "[W]hen we say,
'Every man is responsible for his own actions,' we do no''t think definitely of any
authority, law, or tribunal before which he must answer, but rather of the general law of
right, the moral constitution of the universe .... " James C. Fernald, Funk & Wagnalls
Standard Handbook of Synonyms, Antonyms, and Prepositions 366 (1947). Synonyms
for responsibility in this context are blame, fault, guilt, and culpability. See Oxford
American Writer's Thesaurus 747 (2"d ed. 2008). Accordingly, to be "responsible" for
the development of offensive content, such as defamation, one must be more than a
neutral conduit for that content. One is not "responsible" for the development of
offensive content if one's conduct was neutral with respect to the offensiveness of the
content (as would be the case with the typical Internet bulletin board). We would not
ordinarily say that one who builds a highway is "responsible" for the use of that highway
by a fleeing bank robber, even though the culprit's escape was facilitated by the
availability of the highway. Twitter is "responsible" for the development of offensive
content on its platform because it in some way specifically encourages development of
what is offensive about the content. FTC v. Accusearch, Inc. , 570 F .3d 1187, 1198-1199
(10th Cir. 2009) (citing Fair Housing of Council of San Fernando Valley v.
Roommates.com, LLC, 521 F.3d 1157, 1168 (9th Cir. 2008) ("a website helps to develop
unlawful content ... if it contributes materially to the alleged illegality of the conduct.").
       2
               The word develop derives from the Old French desveloper, which means,
in essence, to unwrap. Webster's Third New International Dictionary 618 (2002)
(explaining that developer is composed of the word veloper, meaning "to wrap tip," and
the negative prefix des ). The dictionary definitions for develop correspondingly revolve
around the act of drawing something out, making it "visible," "active," or "usable." Id.
Thus, a photograph is developed by chemical processes exposing a latent image. See id.
Land is developed by harnessing its untapped potential for building or for extracting
resources. See id. Likewise, when confidential information is exposed to public view that
information is "developed." See id. (one definition of develop is "to make actually
available or usable (something previously only potentially available or usable)") . FTC v.
Accusearch, Inc., 570 F.3d 1187, 1198 (10th Cir. 2009).
       3
               "Content" is information. It is the principal substance (such as written
matter, illustrations, or music) offered by a website. [https://www.merriam-
webster.com/dictionary/content] .


                                              2
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of viewpoints with which it disagrees, (b) by shadow-banning conservatives, such as

Plaintiff, (c) by knowingly hosting and monetizing content that is clearly abusive, hateful

and .defamatory - providing both a voice and financial incentive to the defamers -

thereby facilitating defamation on its platform, (d) by completely ignoring lawful

complaints about offensive content and by allowing that content to remain accessible to

the public, and (e) by intentionally abandoning and refusing to enforce its so-called

Terms of Service and Twitter Rules - essentially refusing to self-regulate - thereby

selectively amplifying the message of defamers such as Mair, Devin Nunes' Mom and

Devin Nunes' cow, and materially contributing to the libelousness of the hundreds of

posts at issue in this action.

        2.      Twitter created and developed the content at issue in this case by

transforming false accusations of criminal conduct, imputed wrongdoing, dishonesty and

lack of integrity into a publicly available commodity used by unscrupulous political

operatives and their donor/clients as a weapon. Twitter knew the defamation was (and is)

happening. Twitter let it happen because Twitter had (and has) a political agenda and

motive: Twitter allowed (and allows) its platform to serve as a portal of defamation in

order to undermine public confidence in Plaintiff and to benefit his opponents and

opponents of the Republican Party. In this case, Twitter contributed materially to the

illegal conduct of defamers Mair, Devin Nunes' Mom and Devin Nunes' cow. Twitter,

by its actions, intended to generate and proliferate the false and defamatory statements

about Plaintiff in order to influence the outcome of the 2018 Congressional election and

to intimidate Plaintiff and interfere with his important investigation of corruption by the




                                             3
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Clinton campaign and alleged Russian involvement in the 2016 Presidential Election.

Twitter knowingly acted as a vessel of opposition research.

                                     II. PARTIES

       3.      Plaintiff, Devin G. Nunes (''Nunes" or "Plaintiff'), is a citizen of

California.   Born October 1, 1973, Nunes has served in the United States House of

Representatives since 2003. He currently represents California's 22nd Congressional

District, which is located in the San Joaquin Valley and includes portions of Tulare and

Fresno Counties. He and his wife have three daughters.          He is the author of the

book, Restoring the Republic, which was published in September 2010. Nunes was born

in Tulare, California. His family is of Portuguese descent, having emigrated from the

Azores to California. From childhood, he worked on a farm that his family operated in

Tulare County for three generations. Nunes raised cattle as a teenager, used his savings

to begin a harvesting business, and then bought his own farmland with his brother.

Nunes graduated from Tulare Union High School. After associate's work at College of

the Sequoias, Nunes graduated from Cal Poly San Luis Obispo, where he received a

bachelor's degree in agricultural business and a master's degree in agriculture. Nunes

was first elected to public office as one of California's youngest community college

trustees in state history at the age of 23. As a member of the College of the Sequoias

Board from 1996 to 2002, he was an advocate for distance learning and the expansion of

programs available to high school students.     In 2001, he was appointed by President

George W. Bush to serve as California State Director for the United States Department of

Agriculture's Rural Development section. He left this post to run for California's 2151

Congressional District and now serves in the 22nd District as a result of redistricting in




                                            4
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2010. Nunes serves as Ranking Member of the House ·Permanent Select Committee on

Intelligence, having been appointed to the Committee in the 1121h Congress and serving

as Committee Chairman during the 1141h and 1151h Congresses. He was appointed to the

Ways and Means Committee in the 109111 Congress and now serves as a Ranking Member

of the Health Subcommittee and a member of the Trade Subcommittee, having served as

Chairman of the Trade Subcommittee in the 113th Congress. Nunes previously served as

a member of the House Budget Committee during the 111 th Congress.           In the 1081h

Congress, his first term in the House of Representatives, he served on the House

Resources Committee, in which he was Chairman of the National Parks Subcommittee,

and on the Agriculture and Veterans Affairs Committees.         Congressman Nunes has

traveled extensively to war zones to meet with soldiers and examine first-hand their

status. As a member of the House Permanent Select Committee on Intelligence, he

participates in oversight of the U.S. national security apparatus, including the

intelligence-related activities of seventeen agencies, departments, and other elements of

the United States Government. Nunes authored the Hubbard Act of 2008 (H.R. 5825),

which was named in honor of the Hubbard brothers of California - Jared, Nathan, and

Jason. Jared and Nathan lost their lives serving in Iraq. Jason was discharged as a sole

survivor, but was denied separation benefits upon leaving the Army. The Hubbard Act,

which was enacted into Jaw, provides sole survivors with numerous benefits that were

already offered to other soldiers honorably discharged. It relieves sole survivors from

repaying any portion of their enlistment bonus; entitles them to the educational benefits .

of the Montgomery GI Bill; and allows them to receive separation pay and transitional

healthcare coverage. [https://nunes.house.gov/about/; https://www.devinnunes.com/bio).




                                            5
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            4.            Nunes'
                            I
                                 career as a United States Congressman is distinguished by his

honor, dedication and service to his constituents and his country, his honesty, integrity,

ethics, and reputation for truthfulness and veracity.

            5.            In 2018, during his last re-election for the 22nd Congressional District,

Nunes endured an orchestrated defamation campaign of stunning breadth and scope, one

that no human being should ever have to bear and suffer in their whole life. Unlike prior

elections, where Nunes won by sweeping majorities, Nunes won on November 6, 2018

by      a        much           narrower              margm,              rece1vmg              52.7%             of       the        222,379              votes.

[https://www.nytimes.com/elections/results/califomia-house-district-22]. The malicious,

false and defamatory statements and relentless attacks on Nunes' reputation did not stop

after he won the Congressional election in 2018. The defan1ation continues. It must be

stopped.

            6.            Defendant, Twitter, is a Delaware corporation.                                                   Its principal executive

office (headquarters) is in California. Twitter is a public company (NYSE:TWTR) with

35+ offices worldwide. In its 2017 annual report on ForP1 10-K, filed with the United

States Securities and Exchange Commission ("SEC"), Twitter made the following

representations about its business and primary service:


          TY.itler ~ lhe best place to see whal's happening antl what peop~ are talking aboul Every day, instms of breaking news, entertainment, sports,
 politics, big events and everyday interests happen first on Twitter. Twitter is where the full story unfolds with ~ve commentary and where live events come to life
 unlike anyNhere else. Our primary service can be accessed on avariety of mobile devices, al !witter.com and via SMS.




                                                                                 6.
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        Our primary service, T1~tter, is aglobal plattorm !or pubfo sell-expression and conversation in real time. Twitter a~ws peoplelo consume, create.
distribute and discover conlent and has democralized content creat~n and dislrilution.The reach o!Twitter content~ not limited to our logged-in users on the
Tvntter pla~Ol!TI, but rather extends to alarger global audience.

         The pubflc nature of the Twitter plalform allows us and others to extend the reach or Twitter content beyond our properties. Media outlets and our
 platform partners distribute Tweets beyond our properties to complement their content by ma~ng it more timely,relevant and comprehens~e. These outlets and
 partners also add value to our user experience by contributing content to our platform.Many ol the world's most trusted media outlets.including the BBC, CNN,
 Bloomberg and the Associated Press, regularly use Twitter as aplatform for content distribution.


Twitter is ubiquitous. Twitter is at home in Virginia. Twitter is registered to transact

business in Virginia (VA SCC Id. No. F 198299-2); it maintains a registered office and

registered agent in Glen Allen, Virginia (Henrico County); millions of Virginians have

Twitter accounts and use Twitter on a daily basis; Twitter targets Virginians every minute

of every day with advertisements of all kinds and earns millions of dollars in revenues

from its Virginia source customers. Twitter's technology platform and information

database enables it to target citizens based on "audience attributes" like "geography,

interests, keyword, television conversation, content, event and devices".                                                                       Twitter's

targeting capabilities allow it to develop content and act as a political action committee

and, as happened in this case, to squelch the voice and assassinate the character of its

political opponents. Twitter makes it possible "for advertisers to promote their brands,

products and services, amplify their visibility and reach, and complement and extend the

conversation around their advertising campaigns" in a variety of ways. Through the use

of "Promoted Products", such as "Promoted Tweets", 4 "Promoted Accounts" and




            4
                Using its "proprietary algorithm and understanding of each user's Interest
Graph," Twitter delivers Promoted Tweets that are "intended to be relevant to a particular
user." Twitter's goal is to "enable advertisers to create and optimize successful
marketing ·campaigns - and pay either on impressions delivered or pay only for the user
actions that are aligned with their marketing objectives."



                                                                               7
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"Promoted Trends", Twitter enables advertisers to target Virginians based on a variety of

factors, including a user's "Interest Graph". 5

       7.      Defendant, Mair, is a citizen of Virginia. She lives and works in Arlington

County. Mair joined Twitter in either 2007 or 2010. She currently operates a twitter

account, titled "BrandValue$4B", with the handle/tag "@LizMair" and 37,900 followers.

[https://twitter.corn/LizMair?ref src=twsrc%5Egoogle% 7Ctwcamp%5Eserp% 7Ctwgr%5

Eauthor; see also https://twitter.com/lizamair?lang;=en]. Mair's Twitter profile discloses

that she is a "Comms strategist. Blunt ('16). Walker ('12-'15).6 Rand Paul ('13). Pe1Ty

(' 12) Fiorina (' 1O); former RNC Online Comms Director; Tory; libertarian; Arsenal fan".

Mair claims that she is "the US' leading right-of-center online communications

operative". [https://www.lizmair.com/biography.php#navbar]. In December 2015, Mair

founded a super PAC called "Make America Awesome" (FEC Id.# C00594176), whose

sole (and failed) purpose was to block and reverse Donald's Trump's ascent in politics by

using "unconventional and cost-effective tactics". 7 Mair claims that since 2011 she has

"advised multiple Fortune 500, FTSE 100 and other publicly-traded corporate clients, as

       5
                Twitter conducts surveillance on its users, collects data on its users and
sells that data to &dvertisers and others. The "Interest Graph maps, among other things,
interests based on users followed and actions taken on our platform, such as Tweets
created and engagement with Tweets."

       6
               Mair was terminated from the Walker campaign shortly after she tweeted
derogatory and disparaging statements about the                        residents    of Iowa.
[https://www .desmoinesregister.com/story/news/poli tics/2015/03/16/scott-walker-digital-
chief-taken-swipes-i owa/2 4 865861 /; https ://thehill. com/b lo gs/ballot-box/23 60 52-under-
fire-walker-aide-liz-mair-resi gns.
       7
               Plaintiff was a member of the Trump transition team, and is widely
recognized for his arguments that the accusations that President Trump and his associates
colluded with Russia are false. Mair is famous for her appearance on CNN, where she
referred to then presidential candidate Donald Trump as a "loud mouth dick".
https://www.realclearpolitics.com/video/2016/08/04/republican strategist liz mair trum
p a loud mouth dick.html.


                                                  8
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well as numerous large trade associations and prominent non-profits on communications

in the US, the UK and the EU." On her Linkedln profile, Mair admits that:


  What do I do for these clients? Anonymously smear their opposition
  on the Internet.


  More broadly? Get sh*t done.


[https://www.linkedin.com/in/liz-mair-76b03a2/]. During Nunes re-election campaign in

2018, Mair conspired with (and presumably was paid by) one or more as-yet unknown

"clients" to attack and smear Nunes. True to her word on Linkedln, Mair relentlessly

smeared and defamed Nunes during the campaign, filming stunts at Nunes' office in

Washington, D.C. and posting them online, publishing videos on YouTube that falsely

accused Nunes of multiple crimes, repeatedly publishing false and defamatory statements

on Twitter, 8 defaming Nunes online and to the press, and filing fraudulent ethics

complaints against Nunes accusing him, inter alia, of violating House Ethics Rules, e.g.:

       https://www.youtube.com/watch?v=f0p7se7n9XI;

       https://www.youtube.com/watch?v=lHGYMcVN SO;



       8
                 Mair falsely tweeted to her 37,900 followers, inter alia, that Nunes "voted
for warrantless wiretapping and unlimited surveillance of Americans' emails (incl Carter
Page's)" [https://twitter.com/LizMair/status/1041873937427300352]; that Nunes broke
the law when he "spent contributions that are supposed to be used for the express
purposes of the PAC or committee in question, and not for financing their personal
lifestyle choices. That is a legal problem, not just an ethical or optics-related one"
[https://twitter.com/LizMair/status/1032990757869813761]; and that Nunes leaked text
messages between a lobbyist and Senator Mark Warner to Fox News
[https://twitter.com/LizMair/status/969409912366338049]. Even after Nunes won the
election, Mair continued to attack him, stating, inter alia, that Nunes was "still a clown
with big league ethical issues that may well cost him his seat in 2020"
[https://twitter.com/LizMair/status/1095574579223949312].



                                             9
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        htt]s://www.youtube.com/watch?v=aUseOu2ReS4;9

        https://www.crowdpac.com/campaigns/386770/hold-devin-nunes-

accountable?ref code=share&utm source=sharer-

ask&utm medium=receipt&utm campaign=S0gacrvwpg4P2coD1Gw1 ujXljNly7HxX&u

tm content=20&source code=tw-receipt-first; 10

        https://www. fresno bee. com/news/politics-government/politics-columns-

blogs/political-notebook/article214693435 .html; 11

        https://thehill.com/blogs/blog-briefing-room/news/398980-activist-group-trolls-

nunes-with-new-sneakers-to-run-away-from;

        https://swampaccountabilityproject.com/letter/.

As part of her smear campaign on behalf of clients, Mair was out to "stick it" to Nunes in

2018. By her own admissions, she "hates Devin Nunes" and "dumped 12 a lot" on Nunes.

[https://twitter.com/LizMair/status/104659905299609600 l].         Mair tweeted "HOLY


        9
                  Among the false statements published by Mair in this video is that "Nunes
 is still entangled with a winery implicated in a scandal involving his co-investors, cocaine
.and child prostitutes".

        10
                In this publication, Mair makes the following false statements about
Nunes: "Ethical leadership in government? He's invested in a winery that allegedly
solicited capital by using underage prostitutes. Really".
        11
              Mair published the following statement to the Fresno Bee, "OCE [the
Office of Congressional Ethics] should prioritize a review of Rep. Nunes' investment and
involvement in the Alpha Omega Winery, and the facts reported by The Fresno Bee.
Such review should be undertaken as swiftly as possible".
        12
                Opposition research (also called "oppo" research) · is the practice of
collecting information on a political opponent or other adversary that can be used to
discredit or otherwise weaken them. The information can include biographical, legal,
criminal, medical, educational, or financial history or activities. "Oppo dumps" are used
by political campaigns to systematically supply files of damaging information to press
outlets, including matters of the public record, video footage from party archives and
private collections, as well as private intelligence gathered by operatives.


                                             10
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CRAP; A yacht, cocaine, prostitutes:               Winery partly owned by Nunes sued after

fundraiser event". [https://twitter.corn/LizMair/status/99940773022065 0497] .              Mair's

tweet, with an article by the Fresno Bee attached, implied that Nunes colluded with

prostitutes and cocaine addicts, that Nunes does cocaine, and that Nunes was involved in

a "Russian money laundering front".              One of Mair's most egregious and defamatory

tweets about Nunes was the following:


   8               BrandValue$4B@                                                              V


  ~ ~~             (41LizMa ir
  "llllll.}JI"'


 To be fair, I think the @fresnobee writing up your
 investment in a winery that allegedly used underage
 hookers to solicit investment-- an allegation you've known
 about for years, during which you've stayed invested in it, I
 might add-- did surprise you.

    Devin Nunes @ @DevinNunes
    Nothing surprises me any more ... twitter.com/byronyork/stat...


 11:10 PM· Jun 22, 20'18 · Twitter Web Client


 1.6K Retweets                   4.4K Likes


[https://twitter.com/LizMair/status/10 10359462891327490]. At all times relevant to this

action, Mair harbored spite, ill-will, actual malice, and a demonstrated desire to injure

Nunes' good name and reputation. Mair's tweets about Nunes, for example, referred to

the Congressman with disdain as "Dirty Devin".

              8.        Defendant, Mair Strategies, is a Virginia limited liability company, active

and in good standing. Mair is the sole member and manager of Mair Strategies. On its



                                                     11
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website,     www.mairstrategies.com,     Mair    Strategies    claims   to   be    a "boutique

communications and public relations firm, with specialties in online, political, and crisis

communications, as well as opposition research formulation and seeding."                    Mair

Strategies represents that it is an "entirely virtual finn staffed by politics veterans" - "the

finn is 'lean and mean' and brings an aggressive, hard-hitting, presidential campaign-

style approach      to   issues   work   it manages      and    executes     for   its   clients."

[https://www.mairstrategies.com/about.php#navbar]. At all times relevant to this action,

Mair acted within the scope of her employment for Mair Strategies, acted during work

hours and while conducting Mair Strategies' business, using a Twitter account that linked

back to Mair Strategies, and with the knowledge and actual or apparent authority of Mair

Strategies. Mair Strategies is liable for Mair's defamation of Nunes under the doctrine of

respondeat superior.

        9.       Defendant, Devin Nunes' Mom, is a person who, with Twitter's consent,

hijacked Nunes' name, falsely impersonated Nunes' mother, and created and maintained

an account on Twitter (@DevinNunesMom) for the sole purpose of attacking, defaming,

disparaging and demeaning Nunes. Between February 2018 and March 2019, Twitter

allowed @DevinNunesMom to post hundreds of egregiously false, defamatory, insulting,

abusive, hateful, scandalous and vile statements about Nunes that without question

violated Twitter's Tenns of Service and Rules, including a seemingly endless series of

tweets that falsely accused Nunes of obstruction of justice, perjury, misuse of classified

information, and other federal crimes:




                                                12
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                                                                       (       Follow    )       v



 Running around DC jumping from Ubers
 doing political stunts, obstructing an
 investigation he was supposed to lead,
 leaking classified info. And what about
                                                                                         1
 Central Valley·s water infrastructure? I don t
 know about you but iim getting tired of this
 bullshit. #Reh1oveNunes #Drewfor22

                     Andrew Janz@.la11zAndrevv
                     Nunes is compromised. Help me take this national security threat
                     out of office. Every dollar goes to my grassroots campaign that can
                     #removenunes
                     se cu re.actblu e.com/contribu te/pag ...


..t.~r~"
nr-~j!1)>      . .
            Devm Nunes' Mom                                                (    Foflow       )       v
 '·.1\~j ;,• @DevinNunesMom
This is going to be disastrous for #CA22 but
                                                                   I
p Iease u nde rs tan d @ Devin ~,Junes di ffi cu It
situation. Between being eyeball-deep in a
federal obstruction investigation and then
cradling the presidenfs balls full time, he just
doesn't have time for you anymore. Surely
you understand.




                                            13
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          Devin Nunes' Mom @DevinNunesMom · 24 May 2018                                      V

          I wonder who's paying @DevinNunes all this money to obstruct justice?

                                                                                             --.
                                 Washington Examiner®' @dcexaminer
                                 Devin Nunes' fundraising explodes amid aggressive
                                 defense of Trump from Russia probe washex.am/21Kfili                I
                                                                                                     II
                                                                            ____ ,,!                 I


           Q   24       t.l.   128    0   367        B

.        ; Devin Nunes' Mom                                          /
                                                                     ~    Follow     )       v
~f/JJ .@Devinf\Juneslv1om
Replying to @FoxNews @DevinNunes @FBI


@Devin Nunes your district is looking for you?
Are you trying to obstruct a federal
investigation again? You come home right
this instant or no more Minecraft!
1:32 AM - 11 Jun 20i8


           Devin Nunes' Mom
                                                                      (    Follow        )       v
           @DevinNunesfvlom


On November 6 you have the choice betwe_en
law and order or obstruction of justice.
#Drevvfor22 #RernoveNunes #CA22

    Andrew Janz @JanzAndrew
    Great spot in @RollingStone. I'm proud to be the law and order candidate in this race.
    rollingstone .com/politics/polit. ..


9:04 PM - 25 Oct 2018




                                                14
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          Devin Nunes' Mom                                        (       Follow    )       v
          @Devinl\Junestvlom


  If you believe in law and order vote for
  @JanzforCongress. If you believe in
  obstruction of justice and perjury vote for
  @Devin Nunes.

    Muclcmal<err"' @lRealMuckrnaker
    Devin NLmes protects witnesses who might have committed pe1ju1y
    share bl ue.corn/ada m-schiff-de ...

  8:57 PM - 3 Nov 20·1e


  73 Retweets 200 Li kes   !~ i~    ~"      0    ~~@ ~        0

                                                                      (    Follow       )       v


                               1                     1
 When they say obstruction they're talking
 about you, @DevinNunes.

   MS.NBC@ @tvl SNB C
   Democrats now in the majority on the House Intel Cmte. had vowed that one of their
   first acts would be to authorize the release of more than 50 witness interview
   transcripts to Mueller to aid in his probe. on.rnsnbc.com/2UvTams

 11:04 PM - 31 Ja n 2019


In her endless barrage of tweets, Devin Nunes' Mom maliciously attacked every aspect of

Nunes' character, honesty, integrity, ethics and fitness to perform his duties as a United

States Congressman. Devin Nunes' Mom stated that Nunes had turned out worse than




                                            15
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Jacob Wohl; 13 falsely accused Nunes of being a racist, having "white supremist friends"

and distributing "disturbing inflammatory racial propaganda"; falsely accused Nunes of

putting up a "Fake News MAGA" sign outside a Texas Holocaust museum; falsely stated

that Nunes would probably join the "Proud Boys", 14 "if it weren't for that unfortunate 'no

masturbating' rule"; disparagingly called him a "presidential fluffer and swamp rat";

falsely stated that Nunes had brought "shame" to his family; repeatedly accused Nunes of

the crime of treason, compared him to Benedict Arnold, and called him a "traitor",

"treasonous shitbag", a "treasonous Putin shill", working for the "Kremlin"; falsely stated

that Nunes was ... 100% bought and sold.         He has no interest remaining for his

constituents"; falsely accused Nunes of being part of the President's "taint" team; 15

falsely stated that Nunes was unfit to run the House Permanent Select Committee on

Intelligence; falsely accused Nunes of "secretly hat[ing] the people he's supposed to

serve"; falsely accused Nunes of being a "lying piece of shit"; falsely stated that Nunes

would lose custody of his children and was going to "the pen"; falsely accused Nunes of

receiving pay for undermining "American Democracy"; falsely stated that Nunes was


       13
               Jacob Wohl has been publicly described as an "American far-right
conspiracy theorist, fraudster, and internet troll." On February 26, 2019, Twitter
permanently suspended Wohl for violating its rules regarding creating and operating fake
accounts. [https://en.wikipedia.org/wiki/Jacob Wohl].

       14
             See [https://www.splcenter.org/fighting-hate/extremist-files/group/proud-
boys]. The Proud Boys have been called a "white supremacists", "extremist" and a "hate
group". Devin Nunes' Mom accused Nunes of "running with those Nazi scumbags
again".

       15
               The verb "taint" means to contaminate morally or to affect with
putrefaction. A "taint" is a contaminating mark or influence or a trace of a bad or
undesirable substance or quality. [https://www.merriam-webster.com/dictionary/taint;
https://en.oxforddictionaries.com/definition/taint]. The Urban Dictionary defines "taint"
as the area of skin on a women between her vagina and her anus.
[https://www. urbandictionary.corn/define.php?term=taint].


                                            16
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"the most despicably craven GOP public official" and that "Devin might be a

unscrupulous, craven, back-stabbing, charlatan and traitor, but he's no Ted Cruz"; falsely

stated that Nunes was "voted 'Most Likely to Commit Treason' in high school"; falsely

stated that "The people of California's Central Valley are upright folk who work hard,

look you square in the eye and give you a firm handshake.             And then there is

@DevinNunes"; falsely stated that Nunes is "not ALL about deceiving people. He's also

about betraying his country and colluding with Russians"; stated "I don't know about

Baby Hitler, but would sure-as-shit abort baby Devin"; falsely stated that "Alpha Omega

wines taste like treason"; falsely stated that "@DevinNunes wanted me to tell everyone

that he'll be releasing a pie soon to get ahead of that AMI thing, and that it only looks

that way because of all the blow"; falsely suggested that Nunes might be willing to give

the President a "blowjob"; falsely stated "@Devin Nunes look @SpeakerRyan is

removing @Rep_Hunter from his committee seat because he's corrupt and incompetent.

I wonder why he let you keep yours?"; falsely accused Nunes of "covering up Trump's

conspiracy against the United States"; falsely accused Nunes of lying to Congress; falsely

accused Nunes of suborning "perjury"; falsely stated that "@Devin Nunes is

DEFINITELY a feckless cunt"; falsely stated that "[i]f you vote for @Devin Nunes the

terrorists win"; falsely stated "please don't call @DevinNunes compromised. He's not at

all. He's a complete and total fucking traitor"; falsely stated that Nunes was a "spy" in

Congress "passing along information to the subject of a federal investigation"; falsely

stated that Nunes knows "a thing or two about throwing away evidence, don't you

Scabbers"; 16 falsely claimed that Nunes was "WANTED" and hiding and "hopes he



       16
              "Scabbers" refers to Ron Weasley's pet rat in the Harry Potter books.


                                            17
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doesn't get indicted"; falsely claimed that Nunes would "probably see an indictment

before 2020"; and even falsely stated that Nunes has "herp-face". Many of the tweets

were vile and repulsive, including tweets that depicted Nunes engaged in sexual acts with

the President:

                                                                  ~             .\
  ~       : Devi_
                n Nunes' Mom
                                                                  \.   Follow   )    v
   (~{J I   @DevinNunestvlom

   Replying to @Natash,;18ertrand

   Here's a helpful diagram to explain their
   relationship.


                             Putin                                 Nunes




   9:26 PfV1 - 6 Jul 2018


Devin Nunes' Morn hurled repeated insults at Nunes and other members of Congress.

For instance, she tweeted the following to Representative Matt Gaetz (R-FLl):



                                            18
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          Devin Nunes' Mom
                                                                    (    Follow    )       v
          @DevinNuneslvlom


 Replying to @mattgaetz

 You know @DevinNunes is getting really
 upset that he has to share Trump's rectum
 space with you. HE WAS THERE FIRS~.
 8:32 AM - 7 Feb 2019


Devin Nunes' Mom falsely accused Nunes of spending money at the "Spearmint Rhino",

a strip club in Las Vegas [https://spearmintrhino.com/]:


  fl%"
  ;~~flt'
          Devin Nunes' Mom
           @DevinNunesMom
                                                                    (    Follow
                                                                     '--------
                                                                                   )       v


                                                                                       1
  You know I hate to be a nag, but if you hadn t
  spent it all in Vegas at the Spearmint Rhino
  you might still be able to afford you re-
  election campaign. But what do I know?

    Steve Sebelius @    r.~SteveS,:belius
    Oh, no! Fake news· purveyor Devin Nunes says he may not have enough money to
    coLmter the mainstream media's deceitful lies (read-truthfLd reporting about his
    antics). Hope he makes his FEC deadline!


  12:20 AM - 27 Jul 2018


Devin Nunes' Mom falsely accused Nunes of frequenting prostitutes and doing cocaine:




                                             19
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                                                                    ,,-------.....
 &!:~\ Devin Nunes' Mom                                            \       Follow     )     v
 \l~j/       @DevinNlll1esMam


 These two geniuses want to teach us all about
 environmental science. Never mind the fact
 that both of their expertise put together is
 worth less than a bag of dicks. When we have
 questions about hookers or Vegas strip clubs
 we'll call you, ok @DevinNunes?

   Devin Nunes © @Devinr,Junes
   Thx @realDonaldTrump for bringing 1m1ch needed attention to our flawed
   environmental policies! Forests should be managed properly and water should be
   allowed for farmers to grow food to feed people. Thx for suppo1ting the people of San
   Joaquin Valley and Sierra Nevada mountains! twitter.com/realDonaldTrum ...

  12:25 AM - 6 AUfJ 2018


  136 Retweets 585 Like s


She falsely professed to know "all about the hookers and coke on boats" :


  ~!l. Devin Nunes' Mom                                                (   ___
                                                                            Follow_ . ,)/   v
  ·21{/j/J   @Devinr-.JunesMom


  Oh there's so much they don't know, sweetie.
  I also hope they don 't know about all the
  hookers and coke on boats.
  twitter.com/enjanted/statu ...
    This Tweet is unavc1ilable.

  ·10:36 PM - ·16 Dec 2018


  17 Retweets 169 l.ikes      (~   ~   ,#~, ~ ,~ ~ f,i e ~

                                             20
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Devin Nunes' Mom even tweeted false and defamatory statements by Mair:


    ~ : :\,
         ,,   Devin Nunes' Mom
                                                                     ~
                                                                      ~-----,
     1
 "'41/: i) @DevinNunesMom
                                                                           Follow    )       v



 Please don't retweet this. It's going to make
 @DevinNunes look really bad.

   Liz Mair@ @LizMair
   Good afternoon. In your non-Kavanaugh news, our ad pointing out a slew of
   @DevinNunes failures is up on air, for the second week in a row. Watch till the end for
   the good shit, and donate to keep the ad up here: donorbox.org/swamp-accounta ...
   youtube.com/watch ?v=a UseOu ...

 11 :54 PM - 24 Sep 2018


The sheer volume of defamatory tweets and the short time period over which they were

published is staggering. In or about March 2019, after Nunes suffered substantial insult,

humiliation, embarrassment, pain, mental suffering and damage to his reputation as a

result of the unprecedented personal and professional attacks on his character, Twitter

finally suspended Devin Nunes' Mom's account.

         10.     Defendant, "Devin Nunes' cow", a person who, with Twitter's consent,

created and maintains an account on Twitter (@DevinCow) for the sole purpose of

attacking and defaming Nunes. [https://twitter.corn/devincow?lang=en].            @DevinCow

has 1,204 followers. 17 Like Devin Nunes' Mom, Devin Nunes' cow engaged a vicious

defamation campaign against Nunes that lasted over a year.            Devin Nunes' cow has

made, published and republished hundreds of false and defamatory statements of and

concerning Nunes, including the following:            Nunes is a "treasonous cowpoke";


         17
            Mair actively encouraged her Twitter followers to "go follow Devin
Nunes' Cow. No, really." [https://twitter.corn/LizMair/status/1 Ol 7251733989453824).


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"prosecutors" were "investigating Devin Nunes"; "Nunes needs to be investigated. He

knew the truth, yet conspired with a criminal, @realDonaldTrump, to conceal the facts

from the investigation. Nunes is a criminal too"; "718 more days until your term is up,

Devin. Unless Mueller indicts you first"; "724 more days, Devin, unless the indictment

comes first"; "It's on, Ranking Member Nunes. #nunesindictment"; "Devin Nunes is a

traitor"; "Devin Nunes used Leadership PAC funds on luxury vacay in his family's native

Portugal"; Nunes hung out with the Proud Boys at a private invite-only fundraiser;

"Devin's boots are full of manure. He's udder-ly worthless and its pasture time to move

him to prison"; "Devin is whey over his head in crime ... I bet @DevinNunes' cocaine

yacht and underage prostitutes won Trump over #AlphaOmega!".

       11.    The substance and timing of the tweets, retweets, replies and likes by

Mair, Devin Nunes' Mom and Devin Nunes' cow demonstrates that all three bad actors

were and are engaged in a joint effort, together and with others, to defame Nunes and

interfere with his duties, employment and investigations of corruption as a United States

Congressman. The purpose of the concerted defamation campaign was to cause immense

pain, intimidate, interfere with and divert Nunes' attention from his investigation of

c01Tuption and Russian involvement in the 2016 Presidential Election.

       12.    In addition to @LizMair, @DevinNunesMom and @DevinCow, between

2018 and the present, Twitter authorized the creation and operation of many other

incendiary accounts whose sole purpose was (and is) to publish and republish (tweet and

retweet) false and defamatory statements about Nunes. Among these additional Twitter

accounts are "Fire Devin Nunes" (@fireDevinNunes) and "Devin Nunes' Grapes"

(@DevinGrapes).     The additional Twitter accounts followed the same pattern as




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@DevinNunesMom and @DevinCow, and published the same false and defamatory

statements Nunes was involved in underage prostitution, etc.       Fire Devin Nunes

published memes of Nunes in prison attire. In a July 30, 2018 post, Devin Nunes' cow

retweeted the following:


                   tl. · Devin Nunes' cow Retweeted

                    -~
           _:,.~~ Devin Nunes' Grapes
          :·:-:-...-·    .

                  @Devin Grapes


   Man, @KirnStra1ssei went to visit
   @Devi~1Cow but not me? I'm so
  _offended. Maybe she didn't want
   to be associated with the winery
   whose yacht hosted Devin's
   co-investors doing coke and
   getting BJs from 14 year olds.
  10:21 AM · 30 Jul 18

The Twitter attacks on Nunes were pre-planned, calculated, orchestrated and undertaken

by multiple individuals acting in concert, over a continuous period of time exceeding a

year. The full scope of the conspiracy, including the names of all participants and the

level of involvement of donors and members of the Democratic Party, is unknown at this

time and will be the subject of discovery in this action.


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                          III. JURISDICTION AND VENUE

       13.      The Circuit Court for the County of Henrico has jurisdiction of this matter

pursuant to § 17 .1-513 of the Virginia Code (1950), as amended.

       14.      The Defendants are subject to personal jurisdiction in Virginia pursuant to

Virginia's long-arm statute,§ 8.01-328. l(A)(l), (A)(3) and (A)(4) of the Code, as well as

the Due Process Clause of the United States Constitution. The Defendants are subject to

general personal jurisdiction in Virginia.    They engage in continuous and systematic

business in Virginia.    They all have minimum contacts with Virginia such that the

exercise of personal jurisdiction over them comports with traditional notions of fair play

and substantial justice and is consistent with the Due Process Clause of the United States

Constitution.

       15.      Venue is proper in the Circuit Court for the County of Henrico pursuant

to§§ 8.01-262(2-4) and 8.01-263(2) of the Code.

             IV. STATEMENT OF ADDITIONAL MATERIAL FACTS

A.     Twitter, Tweets and Retweets

       16.      Twitter is a social networking and micro-blogging service that allows

users to post "tweets" and to "retweet" and "like" others' posts. "A tweet is a short text

post . . . delivered through Internet or phone-based text systems to the author's

subscribers". United States v. Feng Ling Liu, 69 F.supp.3d 374, 377 (S .D.N.Y. 2014);

https://help.twitter.corn/en/using-twitter/types-of-tweets· (in general, a "tweet" is a

"message posted to Twitter containing text, photos, a GIF, and/or video"). A "retweet" is

simply a repost of another Twitter user's tweet on a user's own profile to show to that

user's own followers. [https://help.twitter.com/en/using-twitter/retweet-fags].




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        17.    Twitter's core product - Twitter - has over 321,000,000 active monthly

users. A total of 500,000,000 tweets are sent every single day. 126,000,000 people use

Twitter every day. There are over 69,000,000 Twitter users in the United States - over

thirty-six percent (36%) of all Americans use the platform to publish and republish

information.    [https ://www.washingtonpost.corn/technology/2019/02/07/twitter-reveals-

its-daily-acti ve-user-num bers-first-time/?utm term=.2a744974e596;

https ://www .omnicoreagency. corn/twitter-statistics/].

        18.    Twitter generates revenues by selling advertising on its platform. In the

year ended December 31, 2017, Twitter's total revenue was $2.44 Billion Dollars. Of

that sum, $2.11 Billion Dollars consisted ofrevenue received from advertising.

        19.     Twitter uses its platform, including proprietary algorithms, selectively to

convey its corporate/institutional viewpoint, its position on issues and candidates for

office, such as Plaintiff, to influence the outcome of elections, such as the 2018 election

for California's   22nd   Congressional District, and as a dumping ground for "oppo

research". Twitter is not a neutral platform such as an Internet bulletin board. To the

contrary: as part and parcel of its Twitter's role as an internet content provider, Twitter

and its CEO, Jack Dorsey, actively endorse and promote the many agendas of the

Democratic Party.

B.      Twitter's Terms of Service and Rules

       20.      For people who live in the United States, the "Twitter User Agreement" is ·

comprised of "Terms of Service", a "Privacy Policy", the "Twitter Rules" and all

incorporated policies. https ://twitter.corn/en/tos.




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        21.    The Terms of Service ("Terms") govern a user's access to and use of

Twitter's services, including its various websites, SMS, APis, email notifications,

applications, buttons, widgets, ads, commerce services, and other covered services

("Services"). Twitter contends that by using the Services, a user agrees to be bound by

the Terms. [https://twitter.com/en/tos].

        22.    Twitter recognizes that it owes a duty of reasonable care to all persons

who use its platform. In order to protect the experience and safety of people who use

Twitter, Twitter imposes limitations on the type of content and behavior that it allows.

These limitations are set forth in the Twitter Rules. As a general rule, the Twitter Rules

prohibit use of the platform for "any unlawful purposes or in furtherance of illegal

activities."   Unlawful purposes and illegal activities include defamation, business

disparagement and insulting words. Twitter represents that it believes in

        "freedom of expression and open dialogue, but that means little as an underlying
        philosophy if voices are silenced because people are afraid to speak up. In order
        to ensure that people feel safe expressing diverse opinions and beliefs, we prohibit
        behavior that crosses the line into abuse, including behavior that harasses,
        intimidates, or uses fear to silence another user's voice."

To this end, the Twitter Rules expressly bar "abuse" and "hateful conduct":

        "Abuse:         You may not engage in the targeted harassment of someone, or
        incite other people to do so. We consider abusive behavior an attempt to harass,
        intimidate, or silence someone else's voice."


        Hateful conduct:       You may not promote violence against, threaten, or harass
        other people on the basis of race, ethnicity, national origin, sexual orientation,
        gender, gender identity, religious affiliation, age, disability, or serious disease.

        Hateful imagery and display names: You may not use hateful images or symbols
        in your profile image or profile header. You also may not use your username,
        display name, or profile bio to engage in abusive behavior, such as targeted
        harassment or expressing hate towards a person, group, or protected category.




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       Impersonation

       You may not impersonate individuals, groups, or organizations in a manner that is
       intended to or does mislead, confuse, or deceive others. While you may maintain
       parody, fan, commentary, or newsfeed accounts, you may not do so if the intent of
       the account is to engage in spamming or abusive behavior.

[https://help. twitter .com/en/rules-and-policies/twitter-rules].   Twitter's   rationale for

prohibiting abusive behavior is as follows:

       "On Twitter, you should feel safe expressing your unique point of view. We
       believe in freedom of expression and open dialogue, but that means little as an
       underlying philosophy if voices are silenced because people are afraid to speak
       up.

       In order to facilitate healthy dialogue on the platform, and empower individuals to
       express diverse opinions and beliefs, we prohibit behavior that harasses or
       intimidates, or is otherwise intended to shame or degrade others."

Twitter acknowledges that:

       "In addition to posing risks to people's safety, abusive behavior may also lead to
       physical and emotional hardship for those affected."

[https://help.twitter.com/en/rules-and-policies/abusive-behavior]. 18

        23.     Twitter can suspend or tenninate an account or cease providing the user

with all or part of the Services at any time for any or no reason, including, but not limited

to, if Twitter believes : (i) the user has violated the Terms or the Twitter Rules, or (ii) the


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                The rationale for Twitter's "Hateful Conduct Policy" is similar:

       "Twitter's mission is to give everyone the power to create and share ideas and
       information, and to express their opinions and beliefs without baniers. Free
       expression is a human right - we believe that everyone has a voice, and the right
       to use it.    Our role is to serve the public conversation, which requires
       representation of a diverse range of perspectives.

        We recognise that if people experience abuse on Twitter, it can jeopardize their
        ability to express themselves."

[https://help.twitter.com/en/rules-and-policies/hateful-conduct-policy].



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user creates risk or possible legal exposure for Twitter. Twitter reserves the right to

remove content that violates the User Agreement, including for example, content that

constitutes or involves "unlawful conduct" or "harassment". [https://twitter.com/en/tos].

       24.      @LizMair, @DevinNunesMom, @DevinCow, @fireDevinNunes, and

@DevinGrapes repeatedly tweeted and retweeted abusive and hateful content about

Nunes that expressly and undoubtedly violated Twitter's Terms and Rules.

       25.      Twitter provides a means to report these violations of its Terms and Rules.

[https://help.twitter.com/en/rules-and-policies/twitter-report-violation;

https://help.twitter.com/forms/abusiveuser]. Twitter claims it reviews and takes action on

reports of abusive behavior and hateful content. https://help.twitter.com/en/rules-and-

policies/enforcement-options].

       26.      Twitter publicly professes to monitor its platform, as part of its effort to

self-regulate content and conduct and avoid regulation by both State and Federal

Governments. [See, e.g., https://mashable.com/2017/11/17/twitter-hate-speech-symbols-

december-18/;    https://www.cnbc.com/2018/08/20/trump-says-its-very-dangerous-when-

twitter-facebook-self-regulate-content-reuters.html].    Over the course of 2018, upon

information and belief, Twitter's content moderators reviewed the accounts of@LizMair,

@DevinNunesMom, @DevinCow, @fireDevinNunes, and @DevinGrapes, and were

well aware of the defamation as it was occmTing. Upon information and belief, Twitter

users also reported the abusive behavior of Mair, Devin Nunes' Mom, Devin Nunes' cow

and others to Twitter.

       27.      Twitter did nothing to investigate or review the defamation that appeared

in plain view on its platform. Twitter consciously allowed the defamation of Nunes to




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continue. As part of its agenda to squelch Nunes' voice, cause him extreme pain and

suffering, influence the 2018 Congressional election, and distract, intimidate and interfere

with Nunes' investigation into corruption and Russian involvement in the 2016

Presidential   Election,   Twitter   did    absolutely   nothing.       Twitter   permitted

@DevinNunesMom, for instance, to tweet and retweet with impunity throughout 2018.

Twitter only suspended the account in 2019 after Nunes' real mother, Toni Dian Nunes,

complained.

       28.     Twitter represents that it enforces its Terms and Rules equally and that it

does not discriminate against conservatives who wish to use its "public square". This is

not true. This is a lie. Twitter actively censors and shadow-bans conservatives, such as

Plaintiff, thereby eliminating his voice while amplifying the voices of his Democratic

detractors.

C.     Shadow-Banning

        29.    Twitter is infamous for "shadow-banning" 19 conservatives, including

Nunes. See, e.g., https://news. vice.com/en us/article/43pagg/twitter-is-shadow-banning-

prominent-republicans-like-the-rnc-chair-and-trump-jrs-spokesman;

https://www.rt.com/usa/434682-twitter-shadowbanning-conservatives/;




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               "Shadow banning" is the deliberate act of "making someone's content
undiscoverable to everyone except the person who posted. it, unbeknownst to the original
poster." https://blog. twitter.com/official/en us/topics/company/2018/Setting-the-record-
straight-on-shadow-banning.html]. Shadowbanned users are not told that they have been
affected. They can continue to post messages, add new followers and comment on or
reply to other posts. But their messages may not appear in the feed, their replies may be
suppressed and they may not show up in searches for their usernames . The only hint that
such a thing is happening would be a dip in likes, favorites or retweets-or an ally
alerting them to their disappearance. [https://www.economist.com/the-economist-
explains/2018/08/01 /what-is-shadowbanni ng].


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https://www.foxnews.com/transcript/role-of-social-media-in-political-influence;

https://www.breitbart.com/politics/2018/07/2 7/matt-gaetz-files-fec-complaint-against-

twitter-over-shadowban/;      https://thehill.com/homenews/house/399429-nunes-suggests-

possible-legal-action-against-twitter-for-censoring;

https ://dail ycaller.com/2018/08/ 16/twitter-ban-conservatives/;

https ://daily caller .com/2018/08/0 5/twitter-suspends-candace-owens/.

       30.      In 2018, Twitter shadow-banned Plaintiff in order to restrict his free

speech and to amplify the abusive and hateful content published and republished by Mair,

Devin Nunes' Mom, Devin Nunes' cow, Fire Devin Nunes, Devin Nunes Grapes, and

others. The shadow-banning was intentional. It was calculated to interfere with and

influence the federal election and interfere with Nunes' ongoing investigation as a

member of the House Permanent Select Committee on Intelligence.

       31.      Twitter's actions affected the election results.    The combination of the

shadow-ban and Twitter's refusal to enforce its Terms and Rules in the face of clear and

present abuse and hateful conduct caused Nunes to lose support amongst voters.

Twitter's actions also detracted from Nunes' investigation into corruption and Russian

involvement in the 2016 Presidential Election.

       32.      Twitter's use of its platform as a portal for defamation by political

operatives and their clients runs contrary to every tenet of American Democracy,

including the guarantees of both the First Amendment and Article I, § 12 of the Virginia

Constitution.   In the words of the late United States Supreme Court Justice Oliver

Wendell Holmes, Jr., "if there is any principle of the Constitution that more imperatively

calls for attachment than any other, it is the principle of free thought - not free thought




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for those who agree with us but freedom for the thought that we hate." United States v.

Schwimmer, 279 U.S. 644, 654-655 (1929) (Holmes, J., dissenting).

                               COUNT I - NEGLIGENCE

        33.    Plaintiff restates paragraphs 1 through 32 of his Complaint, and

 incorporates them herein by reference.

        34.    Twitter is a "modern public square." Packingham v. North Carolina, 137 S.

 Ct. 1730, 1737 (2017). As the United States Supreme Court noted in Packingham, "on

 Twitter, users can petition their elected representatives and otherwise engage with them in

 a direct manner. Indeed, Governors in all 50 States and almost every Member of Congress

 have set up accounts for this purpose. In short, social media users employ these websites

 to engage in a wide array of protected First Amendment activity on topics as diverse as

 human thought." 137 S. Ct. at 1735-1736 (internal citations and quotations omitted). The

 Court in Packingham went on to observe, in regard to social media sites like Twitter, that:

       "These websites can provide perhaps the most powerful mechanisms available to
       a private citizen to make his or her voice heard. They allow a person with an
       Internet connection to 'become a town crier with a voice that resonates farther
       than it could from any soapbox."'

Id. at 1737 (citation omitted) (quoting-Reno v. American Civil Liberties Union, 521 U.S .

844, 870 ( 1997)).

       35 .    Access to Twitter is essential for meaningful participation in modern-day

American Democracy. A candidate without Twitter is a losing candidate. The ability

to use Twitter is a vital part of modern citizenship. A presence on Twitter is essential for

an individual to run for office or engage in any level of political organizing in modern

America. That is because Twitter is not merely a website: it is the modern town square.

Twitter is equivalent to the private owner of a public forum who has fully opened its



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property to the general public for purposes of permitting the public's free expression and

debate. That is, in fact, what Twitter has always claimed to be: its stated mission is to

"[g]ive everyone the power to create and share ideas instantly, without barriers"; its self-

proclaimed guiding principle is that "[w]e believe in free expression and believe every

voice has the power to impact the world"; and it has referred to itself as "the live public

square, the public space - a forum where conversations happen."

       36.     As the private operator of a public square, Twitter owed Nunes a duty to

exercise ordinary and reasonable care in the operation of its platform, so as not to cause

harm to Nunes.

       37.     Twitter breached its duty of reasonable care. Twitter used its platform and

allowed its platform to be used by others as a means to defame Nunes. Twitter failed to

take action to enforce its Terms and Rules in the face of known abusive behavior and

failed to reasonably monitor and police the platform to ensure that rampant abuse and

defamation was not occurring.

       38.     As a direct and proximate result of Twitter's negligence, Nunes suffered

actual damages in the amount of $250,000,000, including pain, in:sult, embarrassment,

humiliation, emotional distress and mental suffering, and injury to his personal and

professional reputations.

                            COUNT II- DEFAMATION PER SE

       39.     Plaintiff restates paragraphs 1 through 38 of his Complaint, and

incorporates them herein by reference.

       40.     The law of defamation protects a basic constitutional interest:           the

individual's right to personal security and the uninterrupted entitlement to enjoyment of




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his reputation. Gazette, Inc. v. Harris, 229 Va. 1, 7, 325 S.E.2d 713 (1985) (citation

omitted). In Rosenblatt v. Baer, Mr. Justice Stewart emphasized that:

            '" Society has a pervasive and strong interest in preventing and redressing attacks
            upon reputation.' The right of a man to the protection of his own reputation from
            unjustified invasion and wrongful hurt reflects no more than our basic concept of
            the essential dignity and worth of every human being-a concept at the root of
            any decent system of ordered liberty . . . The destruction that defamatory
            falsehood can bring is, to be sure, often beyond the capacity of the law to redeem.
            Yet, imperfect though it is, an action for damages is the only hope for vindication
            or redress the law gives to a man whose reputation has been falsely dishonored ...
            Surely if the 1950's taught us anything, they taught us that the poisonous
            atmosphere· of the easy lie can infect and degrade a whole society."

383 U.S. 75, 92-93 (1966); id. Milkovich v. Lorain Journal Co., 497 U.S. 1, 12 (1990)

("Good name in man and woman, dear my lord, Is the immediate jewel of their souls. Who

steals my purse steals trash; 'Tis something, nothing; 'Twas mine, 'tis his, and has been slave

to thousands; But he that filches from me my good name Robs me of that which not enriches

him, And makes me poor indeed.") (quoting WILLIAM SHAKESPEARE, OTHELLO, act 3

SC.   3)). 20

            41.    As a citizen of the United States of America and as a United States

Congressman sworn to uphold the Constitution and laws of this great country, Nunes has

a fundamental constitutional interest and entitlement to the uninterrupted enjoyment of

his reputation.

            42.    The First Amendment does not sanction slander or license libel. The

Defendants enjoy absolutely no privilege to use Twitter as a weapon to defame.




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               Libelous speech is not protected by the First Amendment. Bose Co,p. v.
Consumers Union of the United States, Inc., 466 U.S. 485, 504 (1984) (cited in Pendleton
v. Newsome, 290 Va. 162, 173, 772 S.E.2d 759 (2015)); id. United States v. Alvarez, 132
S. Ct. 2537, 2560 (2012) ("false factual statements possess no First Amendment value.").



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       43 .   With the actual or apparent authority of Twitter, the Defendants, using

accounts maintained on Twitter and by Twitter, made, published and republished

numerous false factual statements, which are . detailed verbatim above, about or

concerning Nunes without privilege of any kind.

       44.    The false statements constitute defamation per se. The statements accuse

and impute to Nunes the commission of crimes involving moral turpitude and for which

Nunes may be punished and imprisoned in a state or federal institution. The statements

impute that Nunes is infected with some contagious disease, where if the charge were

true (and it is not), it would exclude Nunes from society. The statements impute to

Nunes an unfitness to perform the duties of an office or employment for profit, or the

want of integrity in the discharge of the duties of such office or employment. Finally,

Defendants' false statements also prejudice Nunes in his profession or trade as a United

States Congressman.

       45 .   Defendants' false statements have harmed Nunes and his reputation.

       46.    Nunes honorably serves as a United States Congressman. Defendants'

false statements that Nunes is a "spy", that he works for the "Kremlin", that he is a

"treasonous Putin shill" are especially egregious and insulting, considering that Nunes

has sworn a solemn oath to uphold the Constitution and Laws of the United States of

America and has dutifully discharged his duty to this Country for over a decade. The

baseless accusation of a connection between Nunes and Russia impugns the honor,

integrity and ethics of a United States Congressman and illustrates the desperate and

cowardly attempt to manufacture evidence of "collusion" where none exists.




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       47.     Defendants made the false statements with actual or constructive

knowledge that they were false or with reckless disregard for whether they were false.

Defendants acted with actual malice and reckless disregard for the truth for the following

reasons:

               a.      Defendants intentionally employed a scheme or artifice to defame

Nunes with the intent to cause him to lose the 2018 Congressional election. Defendants,

in whole or in part, acted in concert with clients to accomplish an unlawful purpose

through unlawful means, without regard for the Nunes' rights and interests.

               b.      Defendants knew that Nunes had and has not committed any

crimes and did not engage in the unlawful and salacious behavior described in the tweets.

There is no evidence in the public record to suggest that Nunes was (or is) the subject of

any criminal complaint or criminal investigation, and there are certainly no indictments,

arrests or convictions of any kind. Defendants' statements are total fabrications.

               c.      Defendants chose to manufacture and publish false. and scandalous

statements and use insulting words that were unnecessarily strong and that constitute

violent, abusive and hateful language, disproportionate to the occasion, in order to

undermine public confidence in Nunes and affect the election. The words chosen by the

Defendants evince their ill-will, spite and actual malice.

               d.      Defendants did not act in good faith because, in the total absence

of evidence, they could not have had an honest belief in the truth of their statements

about Nunes.

               e.      Defendants reiterated, repeated and continued to republish false

defamatory statements out of a desire to hurt Nunes and to permanently stigmatize him.




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        48.    As a direct result of Defendants' defamation, Nunes suffered presumed

damages and actual damages, including, but not limited to, insult, pain, embarrassment, ·

humiliation, mental suffering, injury to his· reputation, special damages, costs, and other

out-of-pocket expenses, in the sum of $250,000,000 or such greater amount as is

determined by the Jury .

                           .COUNT III-INSULTING WORDS

        49.    Plaintiff restates paragraphs 1 through 48 of his Complaint, and

incorporates them herein by reference.

        50.    Defendants' insulting words, in the context and under the circumstances in

which they were written and tweeted, tend to violence and breach of the peace. Like any

reasonable person, Nunes was humiliated, disgusted, angered and provoked by the

Defendants' insulting words.

        51.    Defendants' words are fighting words, which are actionable under§ 8.01-

45 of the Virginia Code (1950), as amended.

        52.    As a direct result of Defendants' insulting words, Nunes suffered actual

damages, including, but not limited to, insult, pain, embarrassment, humiliation, mental

suffering, injury to his reputation, special damages, costs, and other out-of-pocket

expenses, in the sum of $250,000,000 or such greater amount as is determined by the

Jury.

                   COUNT IV - COMMON LAW CONSPIRACY

        53 .   Plaintiff restates paragraphs 1 through 52 of his Complaint, and

incorporates them herein by reference.




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        54.    Beginning in February 2018 and continuing through the present, Mair,

Devin Nunes' Mom and Devin Nunes' cow, acting as individuals, combined, associated,

agreed or acted in concert with each other and/or with one or more "clients" or other

donors, non-profits, operatives or agents of the Democratic Party (whose identity is

unknown at this time) for the express purposes of injuring Nunes, intentionally and

unlawfully interfering with his business and employment as a United States

Congressman, and defaming Nunes. In furtherance of the conspiracy and preconceived

plan, the Defendants engaged in a joint scheme the unlawful purpose of which was to

destroy Nunes' personal and professional reputations and influence the outcome of a

federal election.

        55.     The   Defendants   acted   intentionally, purposefully,   without   lawful

justification, and with the express knowledge that they were defaming Nunes.            As

evidenced by their concerted action on Twitter, the Defendants acted with the express and

malicious intent to cause Nunes permanent injury.

        56.     The Defendants' actions constitute a conspiracy at common law.

        57.     As a direct result of the Defendants' willful misconduct, Nunes suffered

actual damages, including, but not limited to, insult, pain, embarrassment, humiliation,

mental suffering, injury to his reputation, special damages, costs, and other out-of-pocket

expenses, in the sum of $250,000,000 or such greater amount as is determined by the

Jury.

                              COUNT V - INJUNCTION

        58.     Plaintiff restates paragraphs 1 through 57 of his Complaint, and

incorporates them herein by reference.




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       59.     In order to protect Nunes's property interests and his reputation, Nunes

requests the Court (a) to Order Twitter to reveal the names and contact information of the

persons behind the accounts "Devin Nunes' Mom", "Devin Nunes' cow", "Fire Devin

Nunes" and "Devin Nunes Grapes", and (b) to permanently enjoin and order Twitter to

suspend @LizMair, @DevinNunesMom and @DevinCow and to deactivate all

hyperlinks to all tweets, retweets, replies and likes by @LizMair, @DevinNunesMom

and @DevinCow that contain false and defamatory statements about Nunes.

       60.     The identity of those behind these Twitter accounts is a matter of great

public concern.    Whether the accounts are controlled by wealthy Democrats, the

Democratic National Committee, an opposition research firm, such as Fusion GPS

[http://www.fusiongps.co!!!L], the "Russians", the "Chinese", or some other foreign

government or non-governmental organization (NGO), the corruption of American

Democracy and society by intentional falsehoods, fraud and defamation must stop.

       61.     Nunes has no adequate remedy at law. Without Court intervention and an

injunction, Nunes will suffer actual and irreparable injury to his property interests and

personal rights by the mere fact that Defendants' defamatory tweets can be re tweeted and

republished forever by third-parties.

       62.     There is a substantial likelihood that Nunes will succeed on the merits of

his claims.




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       Nunes alleges the foregoing based upon personal knowledge, public statements of

others, and records in his possession.        Nunes believes that substantial additional

evidentiary support, which is in the exclusive possession of Twitter, Mair, Mair

Strategies, Devin Nunes Mom, Devin Nunes' cow and their agents and other third-

parties, will exist for the allegations and claims set forth above after a reasonable

opportunity for discovery.

       Nunes reserves his right to amend this Complaint upon discovery of additional

instances of Defendants' wrongdoing.



                   CONCLUSION AND REQUEST FOR RELIEF

       WHEREFORE, Devin G. Nunes respectfully requests the Court to enter Judgment

against the Defendants, jointly and severally, as follows:

       A.      Compensatory damages in the amount of $250,000,000.00 or such greater

amount as is determined by the Jury;

       B.      Punitive damages in the amount of $350,000.00 or the maximum amount

allowed by law;

       C.      Prejudgment interest from March 18, 2018 until the date Judgment is

entered at the maximum rate allowed by law;

       D.      Postjudgment interest at the.rate of six percent (6%) per annum until paid;

       E.      Attorney's Fees and Costs;

       F.      Such other relief as is just and proper.



                             TRIAL BY JURY IS DEMANDED




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                                                             •t·.

                                                             .. •.·
DATED:    March 18,2019



                      DEVIN G. NUNES


                      By:~--+-
                           Steven S. Biss (VSB # 32972)
                           300 West Main Street, Suite 102
                           Charlottesville, Virginia 22903
                           Telephone:      (804) 501-8272
                           Facsimile:      (202) 318-4098
                           Email:          stevenbiss@earthlink.net

                           Counsel/or Plaintiff Devin G. Nunes




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   EXHIBIT D
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SHAWN MUSGRAVE                               *
185 Forest Avenue                            *
Unit 4A                                      *
Palo Alto, CA 94301,                         *
                                             *
       Plaintiff,                            *
                                             *
       v.                                    *       Civil Action No. 1:21-cv-00554
                                             *
DEPARTMENT OF JUSTICE                        *
950 Pennsylvania Avenue, NW                  *
Washington, DC 20530,                        *
                                             *
       Defendant.                            *
                                             *
*      *       *      *       *      *       *       *      *       *      *       *       *

                                         COMPLAINT

       Plaintiff Shawn Musgrave brings this action against Defendant Department of Justice

pursuant to the Freedom of Information Act, 5 U.S.C. § 552, et seq., as amended (“FOIA”), the

Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and the All Writs Act, 28 U.S.C. § 1651.

                                         JURISDICTION

       1.      This Court has both subject matter jurisdiction over this action and personal

jurisdiction over Defendant pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

                                            VENUE

       2.      Venue is appropriate under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391.

                                           PARTIES

       3.      Plaintiff Shawn Musgrave (“Musgrave”) is a citizen of the United States and a

resident of the State of California. As a freelance reporter whose work has been featured in
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Politico, the Boston Globe, the Intercept, and elsewhere, Musgrave is a representative of the

news media within the meaning of 5 U.S.C. § 552(a)(4)(A).

        4.      Defendant Department of Justice (“DOJ”) is an agency within the meaning of 5

U.S.C. § 552(e) and is in possession and/or control of the records requested by Musgrave which

are the subject of this action.

        5.      The Federal Bureau of Investigation (“FBI”) and Office of Information Policy

(“OIP”) are DOJ components.

                                         BACKGROUND

        6.      In 2017, an unknown individual created the anonymous parody Twitter account

@DevinCow, which fictitiously purports to be the account of a cow owned by U.S.

Representative Devin Nunes (“Cong. Nunes”).

        7.      In March 2019, Cong. Nunes drew significant public attention to the account by

suing Twitter, the anonymous owner of the @DevinCow account, and several other parties for

defamation, claiming $250 million in damages in a complaint filed in Virginia. In the complaint,

Cong. Nunes quoted @DevinCow’s tweets—calling Cong. Nunes, for example, a “treasonous

cowpoke”—as support for his allegation that there was a coordinated online defamation

campaign against him.

        8.      After Cong. Nunes filed his lawsuit, the @DevinCow account gained over

750,000 new Twitter followers and was the subject of widespread press coverage, which ranged

from discussion of the merits of the lawsuit itself to speculation regarding the identity of the

account’s owner.

        9.      Since filing his Virginia lawsuit, Cong. Nunes and his legal team have tried in

several different ways to “unmask” the anonymous Twitter user behind @DevinCow. First, in


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addition to monitoring the account itself for possible clues, they have tried multiple times in the

Virginia case to subpoena Twitter for identifying information about the account. That effort has

thus far failed. See Kate Irby, Devin Nunes’ Attorney Says He’s at ‘Dead End’ in Quest to Reveal

Identity of Twitter Cow, Fresno Bee, June 12, 2020, available at

https://www.fresnobee.com/news/politics-government/article243488476.html.

       10.     Cong. Nunes’s lawyer Steven Biss further attempted to subpoena Twitter for

identifying information on @DevinCow in a completely unrelated case in which Biss

represented a different client. Twitter’s lawyers responded to that request by calling the attempt

“not merely defective and unlawful,” but also apparently “made for an improper purpose: to end-

run around discovery disputes in an unrelated lawsuit.” This effort also failed. See Jerry Lambe,

Twitter Demands Attorney’s Fees From Nunes’ Lawyer for Trying to Unmask @DevinCow

Through Unrelated Lawsuit, Law & Crime, Feb. 7, 2020, at https://lawandcrime.com/high-

profile/twitter-demands-attorneys-fees-from-nunes-lawyer-for-trying-to-unmask-devincow-

through-unrelated-lawsuit/.

       11.     Cong. Nunes was the Chair of the House Permanent Select Committee on

Intelligence from 2015-2019 and is currently the Committee’s Ranking Member.

       12.     As a result of the repeated efforts by Cong. Nunes and his legal team to unmask

@DevinCow—of which the above instances are merely examples—Musgrave filed two FOIA

requests—with the permission of @DevinCow’s owner—to ascertain the degree to which FBI

and DOJ—with or without Cong. Nunes’s involvement—have attempted to identify the

anonymous owner of the @DevinCow Twitter account.




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                                       CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION

                           (FBI -- RECORDS DENIAL – 1480963-000)

        13.     Musgrave repeats and realleges the allegations contained in all paragraphs set

forth above.

        14.     On 9 November 2020, Musgrave submitted to FBI a request for five categories of

records: (1) all main file records about the @DevinCow Twitter account; (2) all cross-references

in the Central Records System about the @DevinCow Twitter account; (3) all internal emails or

other correspondence records created or maintained by the Office of Congressional Affairs

mentioning the @DevinCow Twitter account; (4) all emails in the FBI email system(s) or

personal email folders on personal computers used by the Washington Field Office and San

Francisco Field Office mentioning the @DevinCow Twitter account; and (5) all emails in the

FBI email system(s) or personal email folders on personal computers used by the Criminal,

Cyber, Response, and Services Branch mentioning the @DevinCow Twitter account.

        15.     Musgrave added, “Please note that we do not wish to know the identity of the

owner of the @DevinCow account, so the FBI should automatically redact any personally

identifying information about that individual while releasing the contextual information which

would show that PII was redacted. We are only interested in records discussing the account

and/or the possible identification of its owner, not in the identity itself.”

        16.     On 17 November 2020, FBI acknowledged receipt of this request and assigned it

Request No. 1480963-000. FBI stated that it could neither confirm nor deny the existence of any

responsive records—known as a “Glomar response”—because of the privacy interests of third

party individuals.


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       17.     On 23 November 2020, Musgrave appealed this decision to OIP. Musgrave stated,

“It is nonsensical to issue a (b)(6) Glomar response to a request for records about an anonymous

Twitter account, especially when the request has formally indicated that we have no interest in

learning the identity of the user.”

       18.     That same day, OIP acknowledged receipt of this appeal and assigned it Appeal

No. A-2021-00372.

       19.     On 1 February 2021, OIP affirmed FBI’s determination.

       20.     Musgrave has a legal right under FOIA to obtain the information he seeks, and

there is no legal basis for the denial by FBI and DOJ of said right.

                                 SECOND CAUSE OF ACTION

             (OIP – CONSTRUCTIVE RECORDS DENIAL – FOIA-2021-00272)

       21.     Musgrave repeats and realleges the allegations contained in all paragraphs set

forth above.

       22.     On 9 November 2020, Musgrave submitted to OIP a request for three categories

of records: (1) all emails or other correspondence records created or maintained by the Office of

Congressional Affairs mentioning the @DevinCow Twitter account; (2) all emails or other

correspondence records created or maintained by the Offices of the Attorney General, Deputy

Attorney General, and Associate Attorney General mentioning the @DevinCow Twitter account;

and (3) all other records or information about the @DevinCow Twitter account in the Offices of

the Attorney General, Deputy Attorney General, and Associate Attorney General, and the Office

of Legislative Affairs.

       23.     Musgrave added, “Please note that we do not wish to know the identity of the

owner of the @DevinCow account, so DOJ should automatically redact any personally


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identifying information about that individual while releasing the contextual information which

would show that PII was redacted. We are only interested in records discussing the account

and/or the possible identification of its owner, not in the identity itself.”

        24.     On 18 November 2020, OIP acknowledged receipt of this request and assigned it

Request No. FOIA-2021-00272.

        25.     As more than thirty working days have elapsed without a substantive decision,

Musgrave has exhausted all required administrative remedies.

        26.     Musgrave has a legal right under FOIA to obtain the information he seeks, and

there is no legal basis for the denial by DOJ of said right.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Shawn Musgrave prays that this Court:

        (1)     Order the Federal Bureau of Investigation and Office of Information Policy to

release all requested records to him at no charge;

        (2)     Order preliminary and permanent injunctive and/or declaratory relief as may be

appropriate;

        (3)     Award reasonable costs and attorneys’ fees as provided in 5 U.S.C. §

552(a)(4)(E), 28 U.S.C. § 2412(d), or any other applicable law;

        (4)     Expedite this action in every way pursuant to 28 U.S.C. § 1657(a); and

        (5)     Grant such other relief as the Court may deem just and proper.




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Date: March 3, 2021

                                        Respectfully submitted,

                                        /s/ Kelly B. McClanahan
                                        Kelly B. McClanahan, Esq.
                                        D.C. Bar #984704
                                        National Security Counselors
                                        4702 Levada Terrace
                                        Rockville, MD 20853
                                        301-728-5908
                                        240-681-2189 fax
                                        Kel@NationalSecurityLaw.org

                                        Counsel for Plaintiff




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   EXHIBIT E
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VIRGINIA:

             IN THE CIRCUIT COURT FOR THE COUNTY OF HENRICO


DEVIN G. NUNES                               )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )                      Case No. CL19-1715
                                             )
                                             )
TWITTER, INC.                                )
     et al                                   )
                                             )
        Defendants.                          )
                                             )


        PLAINTIFF’S INTERROGATORIES AND
     REQUEST FOR PRODUCTION OF DOCUMENTS
             TO DEFENDANT, TWITTER
        Plaintiff, Devin G. Nunes, by counsel, pursuant to Rules 4:1, 4:8 and 4:9 of the

Rules of the Supreme Court of Virginia (the “Rules”), hereby requests that Defendant,

Twitter, Inc., answer the following interrogatories, separately, in writing and under oath,

and produce the following documents for inspection and copying at the law office of

Steven S. Biss, Esquire, 300 West Main Street, Suite 102, Charlottesville, Virginia

22903, within the time prescribed by the Rules:



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                         DEFINITIONS AND INSTRUCTIONS

        1.      The term “document” shall mean and include all written, electronic, digital

and graphic matter of every kind and description, whether written or produced or

transmitted by computer, typewriter, printer, photocopier or other machine or by hand,

whether in printed form or on computer disk, and whether in the actual or constructive

possession, custody or control of you, including, without limitation, any and all files,

records, disks, emails, text messages, instant messages, direct messages. iMessages,

letters, correspondence, memoranda, notes, statements, transcripts, workpapers, sound

recordings, cds, dvds, videotapes, charts, reports, books, ledgers, registers, books of

account, account statements, financial statements, checks, check stubs, deposit receipts,

and any other written, electronic or graphic record of any kind, whether or not such

documents are claimed to be privileged from discovery on any ground.

        2.      “You” and “your” shall mean the person or entity to whom/which this

request or subpoena is directed, including his, her, their or its agents, representatives,

employees, attorneys, experts, investigators, insurers or anyone acting on behalf of the

foregoing.

        3.      “Person” or “person” means any individual, sole proprietorship,

partnership (general or limited), limited liability company, limited liability partnership,

corporation, association, trust or other entity.

        4.      “Plaintiff” means Plaintiff, Devin G. Nunes, including, without limitation,

any agent, representative or employee of Plaintiff.

        5.      “Twitter” means defendant, Twitter, Inc., including, without limitation,

any officer, director, manager, agent, representative or employee of Twitter.



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       6.      “Devin Nunes’ Mom” means the creator, owner, holder, sponsor, user, or

operator, including, without limitation, all officers, directors, managers, members,

shareholders, parents, subsidiaries, partners, agents, representations, employees,

associates and/or affiliates of such persons or entities, of the following Twitter account:




       7.      “Devin Nunes’ cow” means the creator, owner, holder, sponsor, user, or

operator, including, without limitation, all officers, directors, managers, members,

shareholders. Parents, subsidiaries, partners, agents, representations, employees,

associates and/or affiliates of such persons or entities, of the following Twitter account:




       8.      “Relating to” means to refer to, reflect, pertain to, or in any manner be

connected with the matter discussed.

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       9.       “Identify” or “identification”, when used in reference to a person, means

to state their full name, their present or last known home and business addressees) and

their present or last known home and business telephone number(s).             “Identify” or

“identification”, when used in reference to a document, means to state or specify the type

of document, e.g. letter, memoranda, etc., its date, its author, signer, addressee, its

contents, and any other information necessary to identify the document for purposes of an

interrogatory, request for production of documents or subpoena duces tecum. As an

alternative to identifying the document, a copy may be attached to your answer. If any

such document was but is no longer in your possession or subject to your control, state

what happened to the document. “Identify” or “identification”, when used in reference to

a communication, representation or discussion, means to state the person(s) to whom

such communication was made, the medium of communication, e.g., letter, telephone,

fax, email, etc., the date of such communication, and the subject matter and substance of

such communication.

       10.      “Describe” means state what is requested to be described, including all

facts and opinions known and held regarding what is requested to be described, and (I)

the identity of each person involved or having knowledge of each fact or opinion relating

to what is described, (II) the identity of each document evidencing the answer given or

relating to what is disclosed in the answer given, and (III) all relevant or material dates or

time periods.




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       11.     If you consider any document called for by a request for production of

documents to be privileged from discovery, include in your answer/response a list of the

documents withheld, identifying each document by date, author, addressee, all recipients,

all persons who have seen the document, the title and a brief description of the subject

matter which will allow for a determination whether the document is privileged. Finally,

you should state the grounds upon which each document is claimed to be privileged.

       12.     The definitions used in Plaintiff’s Complaint are restated and incorporated

herein by reference.



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                                 INTERROGATORIES

       Plaintiff propounds the following interrogatories upon Twitter to be answered

separately, in writing and under oath:

       1.      Identify the name, address and telephone number of each person likely to

have discoverable information that Twitter may use to support any denial of the factual

allegations and/or any defenses to the claims in Plaintiff’s Complaint, and, for EACH and

EVERY such person, describe in detail ALL information known or believed to be known

by such person.

       THERE WILL BE AN OBJECTION RAISED TO ANY PERSON CALLED

TO TESTIFY OR ANY FACT NOT DISCLOSED IN RESPONSE TO THIS

INTERROGATORY.

       ANSWER:



       2.      In accordance with Rule 4:1(b)(4)(A)(i) of the Rules, identify each person

who Twitter expects to call as an expert witness at trial or at any hearing in this action,

and, for EACH such person, state the subject matter on which the witness is expected to

testify, and state the substance of the facts and opinions to which the expert is expected to

testify, and provide a summary of the grounds for each opinion.

       THERE WILL BE AN OBJECTION RAISED TO ANY PERSON CALLED

TO TESTIFY OR ANY FACT NOT DISCLOSED IN RESPONSE TO THIS

INTERROGATORY.

       ANSWER:




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       3.      Identify all users of Twitter who reside or work in Virginia.

       ANSWER:



       4.      Identify all    persons    (including   individuals,   sole   proprietorships,

associations, trusts, partnerships, limited liability companies, and corporations) whose

homes or offices are located in Virginia, and with whom Twitter conducted any business

activity between March 18, 2014 and March 18, 2019.

       ANSWER:



       5.      For each person identified in the preceding interrogatory, describe in detail

the business activity conducted by Twitter with such person between March 18, 2014 and

March 18, 2019, including, without limitation, all revenue and/or income generated or

derived by Twitter from such person(s), and PRODUCE all tax returns, financial

statements, ledgers or other records that evidence such revenue and income.

       ANSWER:



       6.      Identify the number of times Twitter (including, without limitation, its

officers, directors, agents, representatives and/or employees) has been physically present

in Virginia on business between March 18, 2014 and March 18, 2019, and describe in

detail the purpose and nature of such business and the duration of the visit(s).

       ANSWER:




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       7.         Identify all advertising by Twitter that is undertaken with agencies located

in Virginia or that is targeted to persons who live or work in Virginia or that is embedded

in the homepage or timeline of any Twitter user that lives or works in Virginia.

       ANSWER:



       8.         Identify all property located in Virginia, both real and personal (including,

without limitation, (a) deeds, deeds of trust, leases, contracts, agreements, notes,

instruments, security, furniture, fixtures, equipment, inventory, intellectual property,

choses in action, or receivables performed or performable in Virginia, (b) bank or

brokerage accounts located in Virginia, or (c) shares, membership interests, units, or

other legal or beneficial interests in associations, trusts, partnerships, limited liability

companies, and/or corporations formed under Virginia law) in which Twitter had any title

or legal, equitable or beneficial interest between March 14, 2016 and March 18, 2019.

       ANSWER:



       9.         Identify and/or PRODUCE copies of records of all telephone calls made

by any agent or employee of Twitter (from any land line, cell phone, computer, iPad,

Blackberry or other electronic device) to any person known or believed to be located in

Virginia or to area codes 276, 434, 540, 571, 703, 757 and/or 804 between March 18,

2014 and March 18, 2019 relating to any business, either actual (ongoing or completed)

or prospective.

       ANSWER:




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               REQUEST FOR PRODUCTION OF DOCUMENTS

       Plaintiff requests Twitter to produce complete and genuine copies of the

following:

       UNLESS            OTHERWISE                  NOTED,             THE

FOLLOWING REQUEST FOR PRODUCTION

OF DOCUMENTS SEEKS DOCUMENTS AND

ELECTRONICALLY STORED INFORMATION

DATED OR FOR THE TIME PERIOD FROM

MARCH 18, 2014 AND MARCH 18, 2019 (THE

“RELEVANT PERIOD”)

       IF TWITTER HAS NO DOCUMENTS

RESPONSIVE                    TO           THE         FOLLOWING

REQUESTS,                  THE             ANSWER              SHOULD

CLEARLY                STATE               "NONE"           OR         "NO

DOCUMENTS".


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       1.      All documents requested to be produced in and by the above

Interrogatories.

       2.      Financial statements, balance sheets, and income and expense statements

for the years 2014, 2015, 2016, 2017 and 2018 (year-to-date) that evidence or reflect

income received from business transacted in Virginia.

       3.      Federal or State income tax returns for the years 2014, 2015, 2016, 2017

and 2018, including all W2s, 1099s, notes, statements, and accompanying workpapers,

that evidence or reflect income received from business transacted in Virginia.

       4.      Account statements, monthly, quarterly and year-end, for any account in

the name of Twitter, or controlled or beneficially owned by Twitter at any federal lending

institution, bank, credit union, and/or brokerage located in Virginia.

       5.      Contracts or agreements between Twitter and any person or business

(including individuals, sole proprietorships, associations, trusts, partnerships, limited

liability companies, and corporations) performed or performable in Virginia.

       6.      Deeds, deeds of trust, mortgages, leases, licenses, bills of sale, purchase

orders, bills of lading, titles, security agreements, tax bills, certificate of incorporation,

certificate of organization, certificate of partnership, by-laws, operating agreements, trust

agreements, and other documents that constitute, evidence, demonstrate or show any

interest, legal, equitable or beneficial, by Twitter in any real or personal property located

in Virginia.




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       7.      All documents that evidence, demonstrate, show or reflect the conduct or

transaction of any business in Henrico County, Virginia, by Twitter, including, without

limitation, copies of complaints and other papers served on Twitter’s registered agent in

Henrico County.

       8.      All internal email communications and text messages by and between

officers, directors, agents, or employees of Twitter that mention Plaintiff or that are of

and concerning Plaintiff.

       9.      All account creation or account opening documents and information

relating to Twitter account @DevinNunesMom, including, without limitation, username

registrations, phone numbers, associated phone numbers, emails, email verification

requests, email verifications, SMS text messages, text message verifications, transcripts

of voice calls, and/or passwords or login verifications, that were submitted or transmitted

to Twitter by any person and all updates of such information submitted or transmitted to

Twitter after the creation of @DevinNunesMom.

       10.     Copies of all tweets, retweets, replies, likes, postings, messages or written

content of any kind or nature posted by @DevinNunesMom that mention Plaintiff or that

are of and concerning Plaintiff.

       11.     All account creation or account opening documents and information

relating to Twitter account @DevinCow, including, without limitation, username

registrations, phone numbers, associated phone numbers, emails, email verification

requests, email verifications, SMS text messages, text message verifications, transcripts

of voice calls, and/or passwords or login verifications, that were submitted or transmitted




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to Twitter by any person and all updates of such information submitted or transmitted to

Twitter after the creation of @DevinCow.

       12.     Copies of all tweets, retweets, replies, likes, postings, messages or written

content of any kind or nature posted by @DevinCow that mention Plaintiff or that are of

and concerning Plaintiff.

       13.     A copy of any insurance agreement or policy under which an insurance

business may be liable to satisfy all or part of a possible judgment against Twitter in this

action or to indemnify or reimburse for payments made to satisfy the judgment.



       THESE REQUESTS ARE CONTINUING IN NATURE AS PROVIDED

FOR IN THE RULES.

       PLAINTIFF HEREBY REQUESTS THAT TWITTER SUPPLEMENT ITS

DISCOVERY          RESPONSES          IMMEDIATELY            UPON       RECEIPT         OF

ADDITIONAL DOCUMENTS AND INFORMATION.



DATED:         June 24, 2019



                            Signature of Counsel on Next Page




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                             DEVIN G. NUNES




                             By:____.~~~~C..~~~~4~~~=­
                                    Steven S. Biss (VSB # 32972)
                                    300 West Main Street, Suite 102
                                    Charlottesville, Virginia 22903
                                    Telephone:      (804) 501-8272
                                    Facsimile:      (202) 318-4098
                                    Email:          stevenbiss(@,earthlink.net

                                    Counsel for the Plaintiff




                           CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2019 a copy of the foregoing was served

electronically in PDF and by regular mail upon counsel for the Defendants.




                             By:
                                   ~-Steven S. Biss (VSB # 32972)
                                     300 West Main Street, Suite 102
                                     Charlottesville, Virginia 22903
                                     Telephone:      (804) 501-8272
                                     Facsimile:      (202) 318-4098
                                     Email:          steven biss@earthlink.net

                                     Counsel for the Plaintiff




                                           13
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   EXHIBIT F
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   EXHIBIT G
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From:
To:                  Schottlaender, Hayden (DAL)
Subject:             RE: Subpoena to Twitter
Date:                Wednesday, January 27, 2021 9:44:13 AM


I have consulted with my supervisor here at the US Attorney’s Office, and we will not agree to
provide any further information at this time. Thanks, and feel free to reach out with any further
questions or information. - -


From: Schottlaender, Hayden (Perkins Coie) <HSchottlaender@perkinscoie.com>
Sent: Wednesday, January 27, 2021 10:20 AM
To:
Subject: Re: Subpoena to Twitter

Thank you           . Would you be able to either share the threatening communications at issue or
tell me if those threats were directed at Devin Nunes?

Hayden

Hayden M. Schottlaender | Perkins Coie LLP
ASSOCIATE
500 N. Akard Street, Suite 3300
Dallas, Texas 75201
D. +1.214.965.7724
F. +1.214.965.7774
E. HSchottlaender@perkinscoie.com



       On Jan 27, 2021, at 8:39 AM,
                                                wrote:

       ﻿
       Good morning – Thanks for speaking yesterday. The grand jury subpoena was issued as
       part of a criminal investigation into potential violations of 18 U.S.C. Section 875(c)
       (threatening communications in interstate commerce). Does this information resolve
       any issues, or would you like to speak further? Thanks. –



           From: Schottlaender, Hayden (Perkins Coie) <HSchottlaender@perkinscoie.com>
           Sent: Tuesday, January 26, 2021 2:03 PM
           To:
           Subject: RE: Subpoena to Twitter

           Docs attached. Just sent a calendar invite for 4:30.

       Thank you,
Case 1:20-sc-03082-BAH Document 7-1 Filed 05/18/21 Page 101 of 102



Hayden

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Dallas, TX 75201
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E. HSchottlaender@perkinscoie.com



From:
Sent: Tuesday, January 26, 2021 12:40 PM
To: Schottlaender, Hayden (DAL) <HSchottlaender@perkinscoie.com>
Subject: Re: Subpoena to Twitter

Thanks, how about 4:30 pm et today? And could you forward the subpoena and NDO
that we will be discussing? —

On Jan 25, 2021, at 7:59 PM, Schottlaender, Hayden (Perkins Coie)
<HSchottlaender@perkinscoie.com> wrote:

        Hi            :

        Apologies for intruding tonight, I’m sure you’re quite busy. As I
        mentioned, I represent Twitter. I’m calling in regards to a grand jury
        subpoena you served on them, #GJ2020111968168. I have a few
        questions for you about that subpoena and the accompanying NDO. If you
        could spare me 10 minutes of your time to discuss Twitter’s concerns, I’d
        greatly appreciate it.

        I am largely free this week so just let me know some days and times that
        work best for you.

        Hayden

        Hayden Schottlaender | Perkins Coie LLP
        ASSOCIATE
        500 N. Akard Street Suite 3300
        Dallas, TX 75201
        D. +1.214.965.7724
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        E. HSchottlaender@perkinscoie.com




        NOTICE: This communication may contain privileged or other confidential information. If you have
        received it in error, please advise the sender by reply email and immediately delete the message and
        any attachments without copying or disclosing the contents. Thank you.
       Case 1:20-sc-03082-BAH Document 7-1 Filed 05/18/21 Page 102 of 102


         NOTICE: This communication may contain privileged or other confidential information. If you have received it in error,
         please advise the sender by reply email and immediately delete the message and any attachments without copying or
         disclosing the contents. Thank you.




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sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents. Thank you.
